Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 1of85 +

weet

STATE

Wr

WILLIAM HARLEY TOTTRESS,

AND BYRON LATRELL SMITH,

IN THE DISTRICT COURT OF TULSA COUNTY,

STATE OF OKLAHOMA

OF OKLAHOMA,

PLAINTIFFS,

DEFENDANT,

ee ee a

A/K/A "LAZY BONES",
DEFENDANT,
is
AND RYAN K SMITH, (COO
sia \ J}
DEFENDANT. a

FOR THE

FOR THE

x k kK FE

POST-CONVICTION RELIEF HEARING
SEPTEMBER 18, 2023
BEFORE THE HONORABLE DAVID GUTEN
TULSA, OKLAHOMA

APPEARANCES
STATE:

MS. MEGHAN HILBORN
Assistant District Attorney
500 South Denver Avenue
Suite 900

Tulsa, Oklahoma 74103

DEFENDANT:

MR. JOHN BOOZER

Attorney at law DON NE wa; BER Y
912 NW 12th Street
Oklahoma City, Oklahoma 73103

Reported By:

Kylie Mayes
Provisional Court Reporter
Tulsa County Courthouse
500 South Denver Avenue, Room 412
Tulsa, Oklahoma 74103

( hb ibit-

IS

Case No. CF-2010-2554

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24

"i

2

24

25

Page 20f 85 4

NO.

, Defense Exhibit

Number 1
Defense Exhibit
Number 2

NO.

Defense Exhibit
Number 3

EXHIBIT S5

DESCRIPTION

Affidavit by Gary Harmor

Affidavits of mailing and
public posting

EXHIBITS

DESCRIPTION

Tulsa lab reports

ADMITTED

OFFERED

23

STATE OF ORT.AHOMA --— OFFTCTAT, TRANSCRTPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 3 of 85 3

Ri

2

24

25

PROCEEDINGS

THE COURT: We are on the record, Case No.
CF-2010-2554, State of Oklahoma vs. Ryan K Smith.
Matter comes on today for post-conviction DNA hearing.

State is present, represented by Ms. Meghan Hilborn.

The Defendant, Mr. Smith -- I guess he would be the
Petitioner in this matter -- he is appearing by video
at the Department of Corrections. He is currently in

custody and he is represented by Mr. John Boozer, who
is present here in the courtroom.

Mr. Boozer, this being your petition, you may

begin.

MR. BOOZER: Thank you, Your Honor.

THE COURT: And, actually, let me inform the
parties of a couple of things. Because this is video,

you're welcome to stay seated at the table. If you'll
move the microphone closer to you so that your client
will be able to hear you.

Ms. Hilborn, same for you. If you have any
objections that need to be raised.

There is about a half second delay on the
video itself, so if we're asking any questions of Mr.
Smith or anybody else, if you'll just give them a
little bit of a break in between question and answer

so that we can make sure it's recorded properly and

STATR OF OKT.AHOMA -- OFFTCTAT, TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 4 of 85 4

‘1 |then we go from there.

2 Go ahead, Mr. Boozer.

3 MR. BOOZER: Thank you, Your Honor. Okay.

4 ]So, Your Honor, the Defendant, or Petitioner, in this
5 }case has filed a motion for post-conviction DNA

6 |testing. Of that, there are a number of items that

7 |were provided in State's Exhibit Number 5 that showed
8 |DNA evidence was collected from the scene and was

9 |jtested at the time. With the exception of a few

10 Jitems, most -- everything that was tested appears to
11 [have excluded the Defendant. However, there were

12 |three items which are important to the basis and the
13 facts of this case which could not exclude.

14 He was charged with a robbery and breaking in

15 }and stealing guns and money and some other things.

16 |}One of those items was -- and a car. One of those

17 Jitems was the keypad on -- on the safe. DNA was

18 |taken. It was un- -- it came from an unknown male

19 Jindividual. They were unable to exclude him. The

20 }other was a -- the car steering wheel for the vehicle
21 /that was stolen. They were unable to exclude him.

22 So in support of this motion, we have

23 |consulted with a number of experts. And just for the

24 {Court and for the record, I will say I have consulted

25 |with as many experts as I could find in this state

STATE OF AKT.AHOMA -— OFFTCTAT. TRANSCRIPT
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 5 of 85 >

1 [that may be able to come and testify. I know I've
2 Ispoken with at least 10 different individuals. Of the
3 lindividuals that were -- and spoken with OIDS as well.

4 The individual experts that are in this state

5 |lwere unable to help us or do any testing either due to

6 conflicts or to other issues. That included some
7 |peop- -- persons who were retired from their position,
8 |so I was able to contact on their cell phones. Sol

9 Iwas able to find an expert in the state of California
10 |who was able to review some of the lab reports and the

11 jevidence and to provide an opinion for this motion.

T? And with that, I'd ask that I be able to

18 [submit this affidavit in -- in furtherance of that.
14 THE COURT: State?

15 MS. HILBORN: No objection, Judge.

16 THE COURT: All right.

1/? MR. BOOZER: Your Honor, can I approach and

18 |provide the copy of that affidavit for you?

19 THE COURT: You may. If you hand it to my
20 |clerk, we'll mark this as Defense Exhibit Number 1.
21 }I'm just going to write it on here at the bottom.

212 MR. BOOZER: Sure. And, Your Honor, I won't
23 |read this to the Court, but I will summarize if the
24 |Court will permit me to publish.

25 THE COURT: By all means.

STATE AT AKT.AYUOMA -— OFFTCTAT. TRANSCRTPT
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 6of85 §&

» 1 - MR. BOOZER: In general, it -- the affidavit
2 }is by Gary Humor -- Harmor, I'm sorry. He's a
3 laboratory director and chief forensic DNA Ana- --
4 j/Analyst for the Serological Research Institute and
5 [certified by the Texas Forensics Science Commission
6 Jand has a number of other honors and expertise
7 jincluding publishing of papers, Leaching of classes,
8 land -- and providing expert analysis in forensic
9 [serology and forensic DNA in hundreds of cases in 2d
ip States including 19 counties in California alone, as
11 }well as federal and Military courts.
12 He was able to review the reports that were
13 |from the Tulsa -- city of Tulsa's lab in this case.
14 {And in doing so, he was able to note that in 2010
15 {testing used was called autosomal STR kit, called
16 |}PowerPlex 16 kit. Despite this not being provided, he
17 |was able to determine it was provided by the Promega
18 |Corporation and it contained 13 FBI core loci, which
19 J|are used to identify the individual for the DNA.
20 He also testifies that there are new
21 {techniques that are used to conduct the testing today
22 than were used in that time in 2010. In fact, he
23 |states that the method of preparing DNA shifted from
24 {this manual preparation to a more efficient automated

25 {Magnetic and extraction methods that increased the

STATE OF ORKT.AYOMA -—— OFFTCTAT. TRANSCRTPT
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 7 of 85

di

5

recovery of DNA from low level samples.

In 2017, the FBI mandated that forensic
testing laboratories use 20 loci for casework DNA
testing. So that is greater than the 13 that were
used at the time in 2010. And that now the
manufacturers comply by producing different and better
kits for it that would comply with today's standards
for DNA testing. It does increase the ability of
protecting and typing trace amounts of DNA as is
typically found in touch DNA evidence samples.

He indicates that there is a reasonable
likelihood that we would obtain more probative results
and that today's techniques might look at 24 different
biological markers to determine identity which
includes smaller, more sensitive loci for obtaining
types from trace amounts of samples and that this
widespread standard was adopted in 2017 and is
Significantly more probative than those previous
methods used.

These current methods provide more
discriminating results including the possibility of
excluding with certainty Ryan Smith from all DNA
evidence collected at the scene. And he -- he
acknowledges as a consequence these methods could

implicate an entirely different individual for the

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 8 of 85 &

»f Jcerime.

2 So based on this affidavit, Your Honor, I
3 |would submit that -- that there are new techniques
4 |that are available than were used in 2010 and if those
5 |new techniques were applied to the DNA evidence in
6 {this case it would give a more -- there's a reasonable

7 jlikelihood a more probative results that could be

8 jobtained from testing of these materials. So turning
9 |to those materials. As I mentioned, there were a few
10 |different things that -- that failed to exclude my

il |client from -- from the DNA evidence in this case.

12 Unfortunately, it appears that in 2014 and

13/2022 the city of Tulsa destroyed all DNA evidence

14 relating to Mr. Smith's case. They did so -- this was
15 |disclosed in the State's response. They did so

16 {despite the fact that state law requires that they

17 maintain and hold these specific pieces of biological
18 Jevidence so that they, in fact, could be used for this
19 |testing. By law, they're only allowed to dispose and
20 |destroy these Samples if they give notice to the

21 |Defendant, to the Defendant's attorney, and OIDS.

22 In this case, I was able to go back through
23 those civil claims what the city of Tulsa did to

24 |destroy the evidence and show this Court that they

25 }made no effort to contact any of the individuals that

STATE OF OKLAHOMA -- OFFICIAL TRANSCRTPT
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 9 of 85 9

‘1 Jare required to be contacted. They did not send a
2 |notice to any of the individuals. In fact, they

|
3 published their service by posting in a public

4 |newspaper and the newspaper ads that they publish do

> |not even include Mr. Smith's name.

6 So in all cases, this evidence was destroyed
7 |without notice and in violation of Oklahoma's law

8 regarding that these materials be retained so that

9 |they could be used for this specific purpose and that
10 Jis coming from Title 22 0.S. 1372.
11 So, Your Honor, with permission again, I
12 would ask to submit or stipulate to the records of the
13 |court clerk from CV-2014-491 as well as CV-22-151. I
14 {have copies of the affidavits of mailing and public
15 |posting in both of those cases as a joint exhibit.
16 |And I would ask that the Court allow submission of
17 |those as evidence that these records were destroyed
18 Jand not destroyed in compliance with the statute.
19 THE COURT: State?

20 MS. HILBORN: May I have ‘one moment to look

21 Jat this affidavit, Judge?

ae THE COURT: You may.
28 MS. HILBORN: No objection, Judge.
24 THE COURT: All right. We will mark these as

25 |{Defense Exhibit Number 2.

STATE OAR OKT.AHOMA -—— OFFTCTAT. TRANSCRTPT
-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 10 of 85 ig

Case 4:24-c\
1

2

Do you have a copy for the Court, Mr. Boozer?

MR. BOOZER: I do, Your Honor. Thank you.
May I approach?

THE COURT: You may.

And I will mark on the bottom of these as
Defendant's 2.

MR. BOOZER: Thank you, Your Honor. May I
have permission to publish for the record?

THE COURT: You may.

MR. BOOZER: Thank you, Your Honor. The
first -- first Part of this exhibit is an affidavit of
Mailing post and posting in CV-14-00491. The affiant
is a sergeant of the Tulsa Police Department and
States that in 2014, in May, they served a copy of the
notice setting hearing the application filed with the
court, itemizing all Property as disposed was -- as he
Said, post it. There is no Statement of mailing there
on page 4.

Turning beyond that, you'll see a copy of the
legal notice that was posted. It shows four names on
the second column. None of those names are Mr. Ryan
Smith's name.

On the following page, we have another
affidavit and mailing, public posting. Again,

sergeant of Tulsa Police Department. This was in July

STATR OF ORT.AHOMA —-— OFFTCTAT, TRANSCRIP?

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 11 of 89:1

4,

a

3
|

24

29

of 2014.

If you will go then three more pages beyond
that you will see another notice, publisher's
affidavit, which shows Sean McDaniel (phonetic) and a
Salinda Mattingly (phonetic) as the only individuals
listed. Ryan Smith is not listed. There is no other
service or affidavit of service provided in that case
whatsoever and nothing to indicate that any notice was
given to Ryan Smith by the city of Tulsa.

Following that page we have the application
for disposition of unclaimed personal property in
CV-22-0015. And then attached to that is a copy of
the Court's docket which is a printout from OSCN,
which is just there to show that the only service
given was an affidavit of publication and a proof of
publication on March 11th and March 30th of 2022.

I have attached to that a final page, a copy
of the affidavit of publication which lists a number
of names and in those, the name Ryan Smith does not
appear. So even if they have published notice, they
didn't put Mr. Smith's name on it, he would have no
way of knowing that this notice pertained to him or
the evidence in his case.

So what does that all mean for us? Well,

what it means is that the st- -- the G1ty, im this

STATE OF OKT.AHOMA --— OFFTCTAT. TRANSCRTPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 12 of 8512

case, destroyed evidence which it has a legal duty to
preserve. A duty to preserve because the state chose
to grant rights to individuals, like Mr. Smith, who
pled guilty to crimes who later determined that they
should and could test the DNA evidence collected to
determine their innocence.

In this case, we had no DNA evidence
inclusively linking Mr. Smith to the crime. We had
three potential pieces of evidence which they could
not exclude him. I do find it interesting they were
able to fully exclude Mr. Smith's brother who's
charged as a codefendant and subsequently dismissed
his case. But at the time they could not exclude Mr.
Smith, so he was left knowing that that is something
that could potentially be introduced and has been
introduced in cases in the past to say it could be
him, you cannot exclude him, it also could be hin.

Had he been able to test this evidence then
he may be conclusively able to establish that no DNA
evidence at the scene whatsoever linked him to this
crime. That is evidence of innocence. That is
evidence of acquittal. The fact that he was there in
that house, the eyewitnesses who were there that
testified he may have touched numerous things,

including a keypad safe, which was one of the items

STATE OF OKT.AHOMA -- OFFTCTAT, TRANSCRTPT

Case 4:24-
1

2

v-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 13 of 85+

we'd liked to have tested, and to have it exclude him
is to say that he wasn't there doing that at least
from a biological evidence perspective.

So it would be extremely material to his case
and to his defense to be able to show today with these
certain markers in biological testing that he was not
there and present in (verbatim) the scene. That's a
marketed change from in the past and what has been
done.

And so the State sought out to create a
(indiscernible). They gave these individuals like Mr.
Smith, who have pled guilty - so the State understands
by allowing this for people who have pled guilty that
some people may plead guilty, but may, in fact, still
be innocent. Otherwise, it would be superfluous to
even, you know, to even include pleas of guilty in
this. So they understand that people may plead guilty
and then later, still claiming innocence, realize that
they want to try and test and prove they're innocent.

And that's exactly what Mr. Smith is doing
here. Unfortunately, his right, a right created by
Statute, (indiscernible) in law, is taken from him.

He cannot access, he cannot obtain these
materials. He cannot have them tested and as a

consequence, he can't prove his innocence because they

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 14 of 8514

eit

e

destroyed materials that they should have known or did
know because we're presumed with knowledge of the law,
So presumed to know that they have a duty to preserve
it and then they didn't. Not only did they not
preserve it, they plainly failed with regards to
notice, not even coming close to providing notice to
any of the individuals which the statute specLizceoally
requires notice be given.

So in doing that, they have -- they have not
given him the Opportunity to pursue an avenue of
relief that may in fact have shown his innocence.

Additionally, Your Honor, as I was going
through the record of pleadings, I found something
that I think is particularly interesting and important
with regards to my client's innocence and his guilt.
On the State's Exhibit 1, on the front page, you will
see the very top entry and I do have a copy for this
Court if he would prefer to see that just because it's
a little bit streamlined.

THE COURT: If you equa just point me to it.
I've got everyone's briefs and the exhibits that were
attached --

MR. BOOZER: The State's Exhibit 1. Le" s
marked number 1. It's just.the very first entry at

the top of the page.

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 15 of 8515

ri

Z

3

_f—

THE COURT: You're referring to the firearm,
the Sig Sauer firearm?

MR. BOOZER: Yeah, I am. And you will notice
that on August 7th of 2011 -- now, my client pled.

And I believe it was August llth, 2011, is when Mr.
Smith entered a plea of guilty. This indicates that
on August 7th, four days before then, the police
department recovered one of the stolen weapons in
possession of Antoine Hankins, somebody not named in
this suit, not associated with it, and totally unknown
to the Defendant.

They recovered property, the stolen property,
in possession of an entirely different individual four
days before the plea. And I'm willing to say and I
think Mr. Smith will testify to that as well, Your
Honor, if he had known about that, he would never have
entered that plea. If someone had said, by the way we
found the evidence in possession of a different
person, that's evidence of innocence, is it not? I
think that that would go very strongly towards a jury
to indicate a lack of guilt in this case.

So what do we do in this situation where it's
been destroyed? Your Honor, there is precedent when
the agency has acted in bad faith with spoliation of

evidence, that a jury instruction can be given that

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 16 of 8516

i
2

3

24

25

the evidence is to be presumed in favor of the
Defendant. In this case, because the evidence was
wired to be held as not, because that would otherwise
take a right from Mr. Smith which he has at law and
because the State is presumed to know -- or not the
state, the city.

I apologize to the State for that comment.
The city is presumed to know the law and are expected
to follow it and they have not. But that is in bad
faith and that this Court I would request to presume
that the evidence, if tested, would, like the
remaining DNA evidence in this case, come back in

favor and exclude Mr. Smith. That combined with what

jwe see on the State's Exhibit 1, finding possession of

the materials with Antoine Hankins, is strong evidence
that a jury reasonably could find Mr. Smith not guilty
of this crime.

And something I -- I omitted to state, but I
would ask that -- for here now, none of the evidence
recovered was recovered at Mr. Smith's residence or in
his possession. It was recovered at one of the
co-defendants', but not in Mr. Smith's direct
possession. So I believe that creates a reasonable
probability of innocence, one that a jury could

reasonably find not guilty and if presumed, L think,

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 17 of 8517

-2 Jwould be reason to grant Mr. Smith a new trial.
2 So we'd ask that this Court consider
3 |approving this motion presuming that the evidence

would come back in favor of Mr. Smith and grant him a

HS

5 new trial on it or in the alternative, if that be too
6 much, to consider doing a modification of his sentence
7 |to reflect the evidence and to reflect the loss of his
8 Jability to seek post-conviction relief.

9 And thank you, Your Honor.

10 THE COURT: All right. Thank you, Mr.

ll |Boozer.

12 State?

13 MS. HILBORN: Thank you, Judge. First and

14 |}foremost, as my motion lays out in response to the

15 |Petitioner's request for DNA testing, what is

16 |dispositive of this motion is found in 22 0.8. 1373.4
17 Jin subsection Number 3. In order to obtain any type
18 J}of DNA testing, one or more of the items of evidence
19 jthat convicted person seeks to have tested still
20 exists...
21 The fact that we have no evidence that has
22 been preserved in this case is dispositive of this
23 {motion in which he did not get DNA testing. The

24/|/statute does not provide any type of remedies that the

25 |Petitioner is envisioning during this court date, any

STATR OF OKT.AHOMA --— OFFTCTAT, TRANSCRTPT
Case 4:24-cy-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 18 of 8518

1 |types of presumptions that the results would favor

2 fhim. When it comes to bad faith or spoliation of

3 evidence, that's an instruction that a jury is

a instructed upon a jury trial.

5 There is no indication that that type of

le instruction or that type of presumption should follow
7 in a post-conviction setting when the statute provides
8 |DNA testing and very, very specific reasons, none of

9 which ies established today. But let's say, in some
10 |world, that we forget that there's no DNA testing in
11 this case and that that property has been destroyed by
12 |the city, he does not meet the requirement to show

13 |/that a reasonable Probability that he would not be

14 |convicted if the results had been obtained for DNA

15 |testing at the time of the Original prosecution.

16 This Court is sitting in a unique situation
17 where someone who pled guilty to a factual basis,

18 that's found in his plea of guilty, summary of facts
19 that on June 20th of 2010 in Tulsa County, I did rob
20 |Steve Rudolph with a gun, burglarize a house at 2411
31 South Owasso, strike Chris Gentile with a gun and rob
22; |him; I also forcibly confirmed -- confined Rudolph and
23 both of the Gentiles; I also robbed Joseph Gentile

24 |with @ gun; I did all of this acting in concert with

25 |William Tottress and wearing a covering over my face.

STATE OF OKT.AHOMA -- OFFTCTAT, TRANSCRTPT
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 19 of 8519

, ©

2

That is a plea of guilty that not only did he go over
with his attorney and sign, but is a guilty -- a plea
of guilty that was taken by the District Court.

The Court is sitting in a unique position
where this Petitioner, under oath, Signed and declared
he was guilty of these crimes and now, 13 years later,
is saying that he didn't do it. I will note that in
his request for DNA testing, he gives no articulable
reason why he is not guilty of these crimes.

MR. BOOZER: Objection. State waived those
requirements in the last hearing when I specifically
requested the opportunity to amend this.

THE COURT: Hang on. Say that again.

MR. BOOZER: When I -- I specifically
requested additional time to amend the motions and to
cure any procedural defects and the State said that
they would waive those.

MS. HILBORN: I'm not -- I'm not -- I'm not
giving issue to Procedural defects, I'm talking about
the substantive statements he made in his motion.

THE COURT: All right. Overruled. She can
continue.

She's making argument.

MS. HILBORN: The only articulable theory he

presents in his motion is that I did not commit the

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 20 of 8&U

1

z

crimes in which I've been accused of doing. I'm
completely innocent of these crimes and that the
fingerprint expert, Robert Yerton (phonetic), lied
about the latent fingerprint evidence against me. I
will note that that information is the same
information that this person had when he entered his
plea of guilty.

But not only that, Judge, taking away the
fact that we did not have -- if you want to take away
the fact that his DNA was found in the Rudolphs' home,
in -- in multiple places, that DNA, he was not
excluded from, not only that his fingerprints were
found in that home, and not only that, but both
victims identified him as the perpetrator of these
crimes, if -- and that's what this Court has to deal
with -- if that type of evidence was submitted to a
jury, newer technology to say that DNA would be there
or would not be there would not overcome the evidence
that connects him to this crime.

In this proceeding today, he has not met his
burden that a reasonable probability exists that he
would not be convicted if favorable results would have
been obtained through DNA testing. Simply stating
that evidence -- if the DNA testing would change does

not overcome the presumption that we have in this

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 21 of 821

1

2

Court for final- -- finality of judgment and
sentences.

Simply stating that a recovered gun was found
in somebody else's possession, which happens in a lot
of these cases after the fact, does not show and does
not overcome his burden to show that reasonable
probability would exist. His assertions that the cLity
of Tulsa either mishandled or destroyed inadvertently
the evidence in this case, which in the State's
opinion is a matter for discussion for a different
type of case and a different type of courtroom and not
before this Court today, does not meet all five
Criterion that 1374 requires to meet and get and
obtain DNA testing.

I would ask that this Court make a ruling
that he is not entitled to DNA testing first and
foremost because there is no evidence in his case to
test which ends the analysis in front of this Court.

But in addition to that, I would ask that
this Court find that he has not met his burden to show
that a reasonable probability exists that he would not
be convicted if favorable results would have been
found in DNA testing because his latent fingerprints
were found at the scene and he was identified by both

victims at the scene and he hasn't shown that the

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 22 of 82

2

24

25

testing -- the DNA testing that was determined to put
him at the scene was wrong.

I'd ask that you deny his request for DNA
testing today.

THE COURT: Mr. Boozer, any followup?

MR. BOOZER: Yes, Your Honor. For one, I'd
like to just, kind of, start and address the fact that
as the State just mentioned, in it's own words, that
the DNA was, quote, found all over the place, but in
fact, it was just that he was not excluded. That goes
to show the strength of not excluding somebody vs.
where a test may actually exclude somebody. Just by
the fact he's not excluded, the State will and -- and
Ms. Hilborn's making the argument that that's proof
that he was there.

I would also address the plea of not
guilty -- or the plea of guilty -- apologize. He made
a plea of guile. The statute allows for
post-conviction DNA relief after someone has made a
plea of guilty. If we make our findings solely upon
that basis then there's no point in putting that
wording in the statute. t renders it superfluous.

The very fact that the legislature resolved
(spot) it to include individuals who have pled guilty

indicates they recognize that people may plead guilty

STATE. OF OKT.AHOMA -- OFFTCTAT, TRANSCRTPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 23 of 8523

1 }even though they may believe and maintain their
2 jinnocence, but they may do so for other reasons. And

8 |that if that person can and makes an attempt to prove

4 jtheir innocence, that we would actually put that in
5 |focus and put the actual ability to prove innocence in
6 focus. And that's what the Defendant is -- is asking

for here.

S]

8 I think it's worth noting he sought to

b withdraw his plea immediately and -- and

10 post-conviction relief and pursue that -- 'til its --—
1i j'til its end. So he has, after his plea, made every

12 leffort to undo his mistake and to take that away.

13 Lastly, I'd ask -- and I do have here from
14 |the Tulsa city lab reports, one other exhibit. It is
13 }|a supplemental report a -- of fingerprints taken. It

16 {is from evidence report BE6525, which is one of the

17 jevidence reports I gave to Your Honor. And I would
18 joffer to admit this. It was a testing of
19 |fingerprints. I offer to admit this te contradict

20 what the State may have stated and to demonstrate that
21 jthere is at least evidence worthy of impeachnent

22 regarding any fingerprints. This report says that 27
23 |fingerprints were taken and there were no matches.

24 So if I may, I'd like to offer this as an

25 Jadditional exhibit and it also contains the remaining
|

STATE OF OKT.RHOMA -— OF FTCTAT, TRANSCRT PT
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 24 of 854

‘1

2

3

of thé Tulsa lab nseports, city of Tulea.

THE COURT: state?

MS. HILBORN: I do have an objection to this,
Judge, because I don't think that it is a full view of

what Mr. Yerton (phonetic) did in this case. I think

that -- I have information through the State's brief
of -- in support of sentencing that they filed that
fingerprints were found and matched Mr. Smith. And so
Te es

MR. BOOZER: We would like to have seen
those, Your Honor.
THE COURT: Hang on. Let her -- let her

finish making her argument.

MS. HILBORN: lim -- I'm just unsure at this
moment in time if this was the -- the full
supplemental or not and that's -- and I don't think

it's relevant for this proceeding, to be honest.
THE COURT: Can I see Defense Exhibit 3?
MR. BOOZER: Yes, Your Honor.
THE COURT: Is it the whole stapled packet
that you got here?
MR. BOOZER: It's the whole packet. Those
are all of the laboratory reports from the city of
Tulsa that I could find that is turned over.

THE COURT: So the packet itself that you've

STATE OF ORT.AHOMA -- OFFTCTAT. TRANSCRIPT

Case 4:24-cy-00411-JDR-MTS_ Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 25 of 854°

il

24

25

provided, which is marked on here as State's Exhibit
5S, even though I know it's Defense Exhibit 3, fox
purposes of why you're offering it, but I'm assuming
because it's labeled as State's 5 this was attached in
their brief; is that right?

MR. BOOZER: Yes, Your Honor. T'm not sure
if all of it was or not. I believe this last page was
a double-sided page and so that's where I -- I
actually found that as it was on the back of another
page- And so we went through it. And then my client,
through his family members, and I, have also made

every effort we can to obtain records from the city of

Tulsa.

THE COURT: Okay.

MR. BOOZER: And this is all we can obtain
because they've destroyed it. So we don't know if
anything else exists. I mean, we can sit here and say
maybe it does, maybe it doesn't. But this is what --
this is what does exist. This is what we know exists

and this was connected to this case as well.

THE COURT: Well, and the reason I was asking
the question is because on the front page of the
packet you gave me, which has the State's Exhibit 5
Sticker on it, indicates a number of different items

that were recovered as evidence in the case, number of

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 26 of 85®

tT

2

24

25

swabs, looks like they're all swabs that were done

from the vehicle in question. Io don't know what
vehicle that is or if that vehicle still exists. I'm
presuming not or at least nobody knows if -- where it

might be at this time.

But there is a number of things in here where
no DNA evidence or information was obtained and there
is -- looks like 1, 2, 3, 4 possible entries where
some DNA information was obtained. All it says with
regards to that towards the end is that it appears to
have come from an unknown male individual and that's
in a couple of different notations that are in here.
So I -- not having any more clarity as to what these
27 latent cards are that you're referring to or where
they were collected or how they're related, I don't
know what that ties into.

MR. BOOZER: So it is my understanding, Your

Honor, from linking those to the inventory reports

which was provided earlier as -- I'm sorry, I blanked
on which exhibit number it was. The one where the gun
was recovered. Each one of these items is also listed

here numerically and per the inventory reports and --
and described where the fingerprints were taken and
that they were part of this -- this testing, from the

fingerprint perspective.

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 27 of 8527

i I would love to inform the Court more

2 specifically, again, it's somewhat difficult because
3 everything's been destroyed.

4 MS. HILBORN: Judge, may I -- I -- I looked
9 at my filing that I filed in this case and it does not
6 include this last page.

7 MR. BOOZER: It doesn't. It's on the -- it
8 Jwas on the reverse.

9 MS. HILBORN: And why -- why it caught me in
10 Jalarms is because I don't attach fingerprints to my
ll |responses because that's not responsive to the

12 }|statute. What the statute requires is that I provide
13 Jany type of biological testing that's been done in

14 |this case, which I did. That is State's 5.

15 | But this final page of the fingerprints

16 Jare -- it -- it's not attached to my filing that I

17 |filed with the court clerk. I don't know where this
18 }came from. What I do know is that we did have

19 fingerprint, latent print testing that matched Mr.

20 |}Smith to the first floor office, on the glass top on
21 |the desk, on a magazine on top of the desk.

22 THE COURT: So what this report tells me --
33 and I'm looking through as I was comparing all this
24 information -- item number 12 on this property list,

25 which is a -- looks like two swabs from the safe

STATE OF ORKT.AHOMA -- OFFICIAL TRANSCRIPT
Case 4/24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 28 of 858

‘1
2

$

“Rs

keypad in a sealed white paper envelope, DNA evidence
was obtained from that safe keypad. And the results

are that Ryan Smith cannot be excluded as a potential
GOntributer.

There are a number of other items in here
where it says he is excluded as a potential
contributor, but that is one where he cannot be
excluded as a potential contributor. And the swab
indicated in and of itself, both swab one and swab
two, said the item appears to have come from one
individual. Item number 17 on the property list,
which are two swabs from the gear shifter, those were
placed in a sealed white paper envelope, results of
which says Ryan Smith cannot be excluded as a
potential contributor of the DNA information obtained
from this item.

And then he's excluded from a number of other
things that are on here. In fact, I think he may be
excluded from all the other items that were there.

All right. Since the State has indicated
they don't know where this information came from and
has not seen this information, nevertheless, I think
it's sufficient for the Court to at least review it.
I'll take the argument as it has been laid out, but

Defense Exhibit Number 3 will not be admitted into

STATE OF ORT.AHOMA -—--— OFFTCTAT. TRANSCRTPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 29 of 859

1
2

B

24

25

evidence, but the testimony of the evidence -- or the
argument, rather, will be considered.

Anything else, Mr. Boozer?

MR. BOOZER: No, Your Honor. That would be
all.

THE COURT: All right.

Ms. Hilborn, any followup?

MS. HILBORN: Yes, Judge. And I don't know
if this was necessarily done for the record, but I ask
that you take judicial notice of the records that are
filed in. this case.

THE COURT: I will do so.

MS. HILBORN: In particular, the Defense
talked about his motion to withdraw his plea of guilty
and I would note on both, because he filed two, on
October 6th of 2011, the reason he wanted to withdraw
his plea of guilty was because his sentence was
excessive and beyond what he believed he would get.
And then his reason for withdrawing his plea of guilty
filed October 28th of 2011, was that because his
counsel was not prepared for trial.

Neither of these reasons for withdrawing his
plea of guilty had anything to do with the facts and
the evidence that was going to be put forth in front

of a jury in this case.

STATE OF OKT.AHOMA --— OFFTCTAT. TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 30 of 859

2

I ask that you would deny his request for DNA
testing, Judge.

THE COURT: All right. Based upon the
evidence that has been presented, let me start first
with the affidavit of Mr. Harmor, the individual who
was, I guess, either hired or retained, or at least
evaluated the testing procedures that were employed
back in 2010, 2011. I don't certainly disagree that
scientific testing and technology has increased our
capabilities as we sit here in 2023 and I would expect
that they would do so.

However, what Mr. Harbor -- or Harmor, excuse
me, does not say is that the results of this test
would have come out in any other way other than what
it did. What he says is that there is some
possibility that more information could be obtained or
that the testing outcomes could have given a more --
more favorable results or -- I forget the actual
language he says in here, but it would have created a
more -- a more definitive determination as to who
those prints belong to, but he does not say with any
certainty that they did not belong to Mr. Smith.

The fact cf the matter is is that
post-conviction relief, the process for

post-conviction relief, and the implements that are --

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 31 of 881

,l Jare within is a creature of statute and is one that is
b governed by statute. In order for Mr. Smith to

38 |prevail on a post-conviction relief for DNA testing,

4 |}there must be one or more items of evidence that he

5 |seeks to have tested and those items must still exist.
6 And despite -- well, strike that. Let me say
J jit this way: The fact of the matter is is that none

8 Jof these items, by everyone's assertions, exist today.
9 There are no items left for any DNA testing to occur.
10 |Whether that was done correctly or incorrectly is not
11 Ja matter before this Court nor is appropriate for this
12 Court to make a determination on in terms of the

13 |post-conviction relief process.

14 Based upon that, there has not been any

15 specific finding that if this DNA testing were to

16 occur, if the evidence did, in fact, exist, which it
17 does not, but any reasonable probability would exist
18 that he would have or would not have been convicted if
19 favorable results were obtained through DNA testing.
20 The evidence suggests that Mr. Smith entered
21 into a plea of guilty with what appears to be a very
22, |]specific set of factual -- a very specific factual

23 |basis that was included in the Lumpkin form that he

24 knowingly and voluntarily and intelligently waived his

25 {rights to trial and entered into that plea.

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 32 of 832

rj

2

Despite the fact that there were two efforts
made to withdraw that plea, the reasons that the State
pointed out, correctly, that were included in the
motions to withdraw plea had nothing to do with
factual or actual innocence. It had to do with the
outcome of the case and the sromnemse that he received.

And so for those reasons, Mr. Smith is denied
his request for post-conviction relief.

Is there anything further from the State on
this matter?

MS. HILBORN: No, Your Honor.

THE COURT: Mr. Boozer, Tor you?

MR. BOOZER: No, Your Honor.

THE COURT: All right. We will be off the
record.

(The proceedings concluded at 11:05 a.m.)

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS_ Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 33 of 8533

—~o

10

24

25

CERTIFICATE
STATE OF OKLAHOMA . )

ss:
COUNTY OF TULSA )

I, Kylie Mayes, Provisional Court Reporter in
and for the State of Oklahoma, do hereby certify that
on the ‘18th day of September, 2023, before the
Honorable David Guten, District Judge, in the District
Court of Tulsa County, Oklahoma, I reported in machine
Shorthand the proceedings had and the evidence given
and that the above is a full, true, correct and
complete transcript of the proceedings taken at said
time and place.

WITNESS MY HAND THIS 16th day of October,

yl fy

2023.

Kylie! ME
eyhie Mt a Court J vortex

STATE OF OKLAHOMA -- OFFICIAL TRANSCRIPT

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 34 of 85 |

Quality Forensics since 1978
IN THE DISTRICT COURT OF TULSA COUNTY

STATE OF OKLAHOMA

STATE OF OKLAHOMA, )
| )
Plaintiff, )
| )
Vv. )

) Case No. CF-2010-2554
RYAN SMITH, )
)
Defendant. )

AFFIDAVIT OF GARY C. HARMOR

I, Gary C. Harmor (B. S., ABC-BC, ABC-GKE, ABC-MB), being first duly sworn under
oath and subject to penalty of perjury, hereby state and attest to the following:

Z. I am the Laboratory Director, Chief Forensic DNA Analyst of the Serological
Research Institute (“SERI”) and am also certified by Texas Forensic Science Commission #764.
lam a graduate of CSU Sacramento with a Bachelor of Science with Honors in Forensic Science
and minors in Chemistry and Biological Science. In 1978, I started SERI with the late Brian
Wraxall, where we trained many present-day criminalists, including a few laboratory directors all
over the country in serological methods. We spent the next 34 years conducting casework in
forensic biology and forensic DNA analysis. I am now SERI’s Laboratory Director and a Fellow
of the American Board of Criminalistics in Forensic Biology with subspecialties in Forensic
Biochemistry and Forensic Molecular Biology. I am a member of the California Association of
Criminalists (CAC), the International Society for Forensic Genetics (ISFG), the California
Association of Crime Laboratory Directors (CACLD), and the Association of Forensic Quality
Assurance Managers (AFQAM). I am qualified as an expert in both forensic serology and forensic
DNA and has testified in hundreds of cases in 21 states, including 19 counties in California alone,
as well as in federal and military courts. I am experienced in biological screening methods and
HLADQa, autosomal STR (Short Tandem Repeat) and YSTR DNA analysis. My CV is attached

hereto (Exhibit A):

2 I have reviewed a Laboratory Supplemental Report A, dated 10/28/2020, authored
by Johnathan Wilson, Forensic DNA Technical Manager, Lab File Number: 2010-1158 and a
Laboratory Supplemental Report B, dated 12/13/2010, authored by Byron C. Smith, Forensic
Scientist LI of the City of Tulsa Police Department for Lab File number 2010-1158, at the request
of the defendant herein;

oy, 4
SAMs,
& Serological Research Institute SS=, ANAB
3053 Research Drive, Richmond, CA 94806 3 BEERS TCaREeIT ES
510-223-SERI (7374) - www.serological.com \ thE
. fret LaAgORATORY
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 35 of 85 |

! 3. The evidence obtained in this case contained DNA evidence from latent
fingerprints, commonly called “touch DNA”. This evidence was tested in 2010 using an autosomal
STR kit.called Power Plex 16 made by Promega Corporation. This kit contains the 13 FBI Core
Loci (locations amplified for DNA) as well as Penta D and Penta E loci;

4. The techniques used today are different than those used to conduct testing of the
underlying evidence in this case in 2010. The method of preparing the DNA shifted from manual
preparation to more efficient automated magnetic bead extraction methods which increased the
recovery of DNA from low level samples. In 2017 the FBI mandated that Forensic Testing
Laboratories utilize 20 Core Loci for casework DNA testing. The manufacturer’s complied by
producing kits with enhanced chemistry for better sensitivity that contain the 20 FBI core loci and
additional loci that significantly increased the ability of detecting and typing trace amounts of
DNA as is found in touch DNA evidence samples;

5. If subjected to additional testing using the techniques available today, there is a
reasonable likelihood of more probative results;

6. The STR techniques used today look at 24 different biological markers to determine
DNA identity, which include the smaller, more sensitive loci for obtaining types from trace
amounts of DNA in samples. This standard was widespread, adopted in 2017, and is significantly
more probative than the methods used previously, which reviewed 13 loci markers. Current
methods are capable of providing more discriminating results including the possibility of
excluding the defendant, Ryan Smith. As a consequence, an entirely different individual may be
inculpated for the crime.

| FURTHER AFFIANT SAYETH NOT.

Dated this 15th day of September, 2023.

Serological Research Institute
3053 Research Drive
Richmond, CA 94806-5206
(510) 223-7374

. Case. 4:24-cv-00411-JDR-MTS. Document 4-2-Filed in- USDE-ND/OK off 09/03/24" Page 36 OF 85"

Affidavit of Gary C. Harmor - CF-2010-2554

A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate
is attached, and not the truthfulness, accuracy, or
validity of that document.

State of California
County of Contra Costa

Subscribed and swom to (or affirmed) before me on this 15th

day of September , 20.23 , by
Gary Clayton Harmor

proved to me on the basis of satisfactory evidence to be the

person(s) who appeared before me.

JENNIFER M BOSCHKER
Notary Public - California
Contra Costa County =
Commission # 2362559
S my Comm. Expirés Jun 25, 2025

SS

a ear a RS a gee eine ae

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 37 of 85

Exhibit A
Serological Research Institute

S = eS i 3053 Research Drive, Richmond, CA 94806
510-223-SERI (7374)

RESUME OF
| GARY CLAYTON HARMOR
EDUCATION
1974 - 1976 California State University, Sacramento, CA
| Bachelor of Science with Honors, Forensic Science
| Chemistry (29 semester units)
| Biological Science (27 semester units)
1972 - 1974 Sacramento City College, Sacramento, CA
Associate of Arts in General Education
July, 2010 Executive Online Mini-MBA in Core Business Principles
The Satell Center for Executive Education
376 Technology Drive, Malvern, PA
WORK EXPERIENCE
2012 - Present Executive Director, President of the Board of Directors
2021- Present Chief Forensic DNA Analyst
The Chief Forensic DNA Analyst shall be responsible for the
completion of assigned laboratory cases and client consultation. A
Forensic DNA Analyst shall be responsible for the interpretation of
testing results. A Forensic DNA Analyst shall be responsible for
| using their judgment in the selection and consideration of testing,
including selection within allowable ranges and the submission for
temporary modification of testing techniques. A Forensic DNA
Analyst shall be responsible for the generation of reports and the
court testimony of their casework.
2012-2021 Chief Forensic Serologist

| The Chief Forensic Serologist shall be responsible for the
completion of assigned laboratory cases and client consultation. A
Forensic Serologist shall be responsible for the interpretation of
testing results. A Forensic Serologist shall be responsible for using
their judgment in the selection and consideration of testing,
including selection within allowable ranges and the submission for
temporary modification of testing techniques. A Forensic
Serologist shall be responsible for the generation of reports and the
court testimony of their casework.
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 38 of 85

| GARY CLAYTON HARMOR

2017 — Present Quality Assurance Manager

Responsible for all aspects of the Quality System for the laboratory

under the guidance of the Technical Leader. Maintain and update

the Quality Manual. Monitor laboratory practices to verify
| continuing compliance with policies and procedures. Evaluate
| instrument calibration and maintenance records. Ensure the
validation of new technical procedures. Investigate technical
problems, propose remedial actions, and verify their
implementation. Administer proficiency testing and evaluate
results. Select, train, and evaluate internal audits. Propose
corrections and improvements in the quality system. Liaison with
ANAB.

1978 — 2012 Forensic Serologist (1978 — 1988)
Senior Forensic Serologist (1988 to 2011)

The Senior Forensic Serologist shall be responsible for the
completion of assigned laboratory cases and client consultation. A
Forensic Serologist shall be responsible for the interpretation of
testing results. A Forensic Serologist shall be responsible for using
their judgment in the selection and consideration of testing,
including selection within allowable ranges and the submission for
temporary modification of testing techniques. A Forensic
Serologist shall be responsible for the generation of reports and the
court testimony of their casework.

|
1977 - 1978 Beckman Instruments, Inc. - Anaheim, CA
Forensic Chemist

| Aid in the research and development of advanced electrophoresis
blood grouping techniques on dried bloodstains and the transfer of
this technology to selected crime laboratory personnel. This work
| was done under a LEAA grant.
|
1976 - 1977 University of California, Berkeley, CA
| Staff Research Associate I, Step 2

Aid in the research and development of electrophoresis techniques
for the purposes of a population survey of various polymorphic
enzymes and proteins. This work was done under a Califomia OCJP
grant.

Page 20f9
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 39 of 85

GARY CLAYTON HARMOR

|
CERTIFICATIONS AND AWARDS
Certificate of Merit from the Southem Association of Forensic Scientists, April 30, 1982.

Certificate of Professional Competency in Criminalistics from the California Association of
Criminalists, Awarded December 26, 1989, Number 060.

Certificate for General Criminalistics (ABC-GKE) from the American Board of Criminalistics
(ABC), Number 0440, expires July 312023.

Certificates of Biochemistry (ABC-BC) and Molecular Biology (ABC-MB), Number 0440,
expires July 31% 2028.

Certificate from the Satell Center for Executive Online Mini-MBA® Program in Core Business
Principles. The Satell Center, 376 Technology Drive, Malvern, PA 19355, 1-800-817-8510.
July 2010.

ASCLD/LAB-International, Internal Auditor Training Course, Emeryville, CA; February 2013.

Texas Forensic Science Commission, Forensic Biology/DNA Analysis, License Number
0000764 expires 1/8/2025.

COURT PRESENTATIONS

Expert testimony presentations in forensic serology made in excess of five hundred (500)
times in Superior Courts of the following states: Alaska, Arizona, California, Colorado,
Georgia, Illinois, Iowa, Kentucky, Louisiana, Missouri, Montana, Nebraska, Nevada, New
Hampshire, New Mexico, New York, Ohio, Oklahoma, Oregon, Pennsylvania, Tennessee,
Texas, Utah, Wisconsin and Washington.

Superior Courts in California: Alameda, Butte, Contra Costa, El Dorado, Fresno, Humboldt,
Kem, Los Angeles, Orange, Sacramento, San Bernardino, San Diego, San Francisco, San
Joaquin, San Mateo, Santa Clara, Shasta, Solano, Sonoma, Sutter, Tulare, and Ventura Counties.

Qualified as a DNA expert over three hundred (300) times in Superior Courts of the
following states (Approximately 80% Prosecution/Plaintiff and 20% Defense): Alaska,
Arizona, California, Colorado, Florida, Georgia, Illinois, Louisiana, Massachusetts, Missouri,
Montana, Nevada, New Hampshire, New Mexico, Ohio, Oregon, Pennsylvania, South Carolina,
Tennessee, Texas and Utah.

Superior Courts in California: Alameda, Contra Costa, El Dorado, Fresno, Marin, Napa,
Orange, Kem, Los Angeles, Sacramento, San Bemardino, San Diego, San Francisco, San Mateo,
Santa Clara, Shasta, Sonoma, Stanislaus and Sutter Counties.

Federal/Military Courts: Alabama, California, [linois, Tennessee, Utah and Virginia.

Page 3 of9
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 40 of 85

GARY CLAYTON HARMOR

International Courts: British Columbia, Canada.
TECHNICAL PRESENTATIONS
C.A.C. Seminar, Spring 1980: "PGM Subtyping by Conventional Electrophoresis"

C.A.C/N.W.A.F.S Joint Seminar, Fall 1981: "Multisystem Approach to Red Cell Black
Population Markers - Group IV"

S.A.F.S. Seminar, Spring 1982: "Multisystem Approach to Red Cell Black Population
Markers - Group IV"

C.A.C. Seminar, Spring 1986: "Gm and Km Testing on Bloodstains"

2nd Joint Meeting of the Forensic Science Society and the California Association of
Criminalists, July 1997: "Life in a Private Laboratory". .

|
CAC. DNA Workshop, May 1998: "Casework Using Capillary Electrophoresis on the 310
Genetic Analyzer™".

Forensic DNA lectures for California Defense Investigators Assoc. San Diego, CA, Octover 6
and 7, 1995.

Panel member at Perkin-Elmer Applied Biosystems Division - Forensic PCR Technical Training
Roundtable Discussions

Guest lecturer on Forensic DNA to a Molecular and Cell Biology Course at the California State
University at Sonoma, California on November 23, 1999

California vs. Scott Dyleski: My Experience with the Admissibility of Y-STRs (ABI Y-filer™),
California Association of Criminalists, Fall 2007 DNA Workshop, Berkeley, CA, October 16,
2007.

Taking a Bite Out of Crime: DNA analysis of Property Crime Cases, Association of Forensic
DNA Analysts and Administrators (AFDAA) Summer 2012, San Antonio, TX, June 28, 2012.

Determination of Reference Sample Genotypes for the HLADQAI (HLADQa) Locus Using
Direct DNA Sequencing of PCR Amplicons, Association of Forensic DNA Analysts and
Administrators (AFDAA) Summer 2013, San Antonio, TX, May 30, 2013.

Determination of Reference Sample Genotypes for the HLADQA1 (HLADQza) Locus Using

Direct DNA Sequencing of PCR Amplicons, American Academy of Forensic Science, 66%
Annual Scientific Meeting, Seattle, WA, February 20" 2014.

Page 40T9
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 41 of 85
| GARY CLAYTON HARMOR

False Confession and CODIS Hits Entwine Two Capital Cases, 25 Intemational Symposium on
Human Identification, Phoenix, AZ, October 1% 2014; CAC 2015 Fall Seminar, September 22,
2015, Burlingame, CA; and California Association of Crime Laboratory Directors, Fall Meeting,
November 17® 2015, Sacramento, CA.

OFF SITE TECHNICAL COURSES

Instructor at various Forensic laboratories in semen identification and/or advanced
electrophoresis techniques:

Iowa Department of Public Safety, Des Moines, January 1984

Michigan Department of State Police, East Lansing, August 1984

Arizona Department of Public Safety, Phoenix, April 1985

South Carolina Department of Law Enforcement, Columbia, November 1985
Georgia State Bureau of Investigation, Decatur, Georgia, June 1986
Michigan Department of State Police, East Lansing, March 1987

Arizona Department of Public Safety, Phoenix, November 1987
San Diego Police Department, San Diego, September 1988

New York City Police Department, New York, March 1997

DNA TRAINING AND COURSES

Forensic DNA Seminar, California Association of Crime Laboratory Directors, November 19,
1987, Newport Beach, CA.

Forensic DNA Symposium, California Association of Criminalists, 71st Semiannual Seminar
May 21, 1988, Berkeley, CA.

Topics in Molecular Biology Related to Forensic DNA Analysis, July 24-28, 1989
UC Berkeley Extension

Principles of Molecular Biology, Fall 1989, UC Berkeley Extension (X107A)
Principles of Molecular Biology, Spring 1990, UC Berkeley Extension (X107B)

Certificate of Completion for HLADQa Forensic DNA Amplification and Typing Workshop,
Cetus Corporation, Forensics PCR Division, August 17, 1990.

Introduction to Genes and Genetics, Fall 1990, UC Berkeley Extension (X143)

The Population Genetics and Statistics Seminar for Forensic Biology, California Association of
Criminalists, June 17-19, 1992.

Forensic DNA User Workshop, California Association of Criminalists, May 9 and 10, 1995.
Forensic DNA User Workshop, California Association of Criminalists, May 15, 1996.
Forensic DNA Workshop, 2nd Joint Meeting of the Forensic Science Society and the California

Page sofg
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 42 of 85

GARY CLAYTON HARMOR

Association of Criminalists, Harrogate, North Yorkshire, U.K., July 9-12 1997.

Forensic DNA Workshop, 3" Joint Meeting of the Forensic Science Society and the California
Association of Criminalists, Napa, California, May 9, 2000.

Forensic DNA Workshop, "Short Tandem Repeat Analysis Data: Processing Interpretation and
Storage", American Academy of Forensic Science, 53™ Annual Meeting, Seattle, WA on
February 20, 2001.

Forensic Applications of Y-Chromosome’ DNA Typing, Symposium, Tennessee Bureau of
Investigation, Nashville, TN on May 12, 2003.

FBI DNA Auditor Training, NWAFS Fall Meeting Workshop, Portland, OR, October 15-16,
2003

Applied Biosystems, Inc., HID Genemapper ID v.3.1- Web Ex Training # 751747357, June 14,
2004.
Applied Biosystems, Inc., Future Trends in Forensic DNA Technology 2006 Seminar HID™

University Seminar Series, Berkeley, CA, September 22, 2004.

San Diego District Attomey's Office, "DNA Court Room Training for Criminalists," San Diego,
CA, December 2, 2004

Applied Biosystems, Inc., Future Trends in Forensic DNA Technology 2006 Seminar HID™
University Seminar Series, Berkeley, CA, June 13, 2006.

Forensic DNA Workshop, California Association of Criminalists, Berkeley, CA, October 16?
2007

Forensic Training Network, "Forensic STR Data Analysis Using Genemapper,” SERI, June qn
2008, Instructor: Jaime Handlesman

Forensic DNA User Workshop, Fall 2009 Seminar, California Association of Criminalists
San Jose, California, October 26" 2009.

Applied Biosystems, Inc., Future Trends in Forensic DNA Technology 2006 Seminar HID™
University Seminar Series, Berkeley, CA, July 20, 2010

2i* International Symposium on Human Identification, San Antonio, TX, October 12 and 13,
2010

|
22"4 International Symposium on Human Identification, National Harbor, MD, October 3 thru 6,
2011

Page 6of9
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 43 of 85
GARY CLAYTON HARMOR

Association of Forensic DNA Analysts and Administrators (AFDAA) Seminar, Summer 2012,
San Antonio, TX, June 28 and 29, 2012.

23% International Symposium on Human Identification, Nashville, TN, October 15 thru 18, 2012

|
ASCLD/LAB-International, Intemal Auditor Training Course, Emeryville, CA; February 5-8,
2013.

Association of Forensic DNA Analysts and Administrators (AFDAA) Seminar, Summer 2013,
San Antonio, TX, May 30 and 31, 2013.

American Academy of Forensic Science, 66% Annual Scientific Meeting, Seattle, WA, February
19% to 215% 2014.

Life Technologies, Inc., HID University, 2014 Future Trends in Forensic DNA Technology, San
Francisco, CA, July 23H 2014.

25" International Symposium on Human Identification, Phoenix, AZ, October 1% 2014.

California Association of Criminalists, 2015 Fall Seminar, Forensic DNA Workshop, September
22, 2015, Burlingame, CA.

California Association of Criminalists, 2016 Fall Seminar, Seratec® Biology Workshop, October
31 2016, Rancho Mirage, CA.

California Association of Criminalists, 2016 Fall Seminar, Forensic DNA Workshop, November
1, 2016, Rancho Mirage, CA.

In-house training for probabilistic genotyping and kinship analysis (Bullet & Brita) by Kent
Harman of Genetic Technologies, Inc. on March 13 2017.

Ins ‘house training for "Casework Application of Probabilistic Genotyping — eDNA/Bullet", by
Casseday Baker January 18" 2018.

Workshop #1, "Proposed revisions to the FBI Quality Assurance Standards — DNA", AAFS 70%
Annual Scientific Meeting, Seattle, WA, February 19% 2018.

Workshop #13, "Moving from CPI to Probabilistic Genotyping for DNA Mixture Interpretation",
AAFS 70™ Annual Scientific Meeting, Seattle, WA, February 19" 2018.

"Criminalistics I Seminar", AAFS 70% Annual Scientific Meeting, Seattle, WA, February 22™4 &
234 2018.

California Association of Crime Laboratory Directors, Conference, May 13" -14" 2019,
Oakland, CA.

Page 7 ofg
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 44 of 85

| GARY CLAYTON HARMOR

Bullet Proof (PG) Workshop, July 10® -11" 2019, Serological Research Institute, Richmond,
CA.

International Symposium on Human Identification (SHI), Virtual Meeting, September 14% —
17® 2020, Serological Research Institute, Richmond, CA.

HID University, Human Identification Solutions virtual conference on May 19-20, 2021,

presented by Thermo Fisher Scientific.

International Symposium on Human Identification (SHI, Virtual Meeting, September 13% —
16 2021, Serological Research Institute, Richmond, CA.

California Association of Crime Laboratory Directors, Conference, September 20% - 215t 2022,
San Jose, CA.

International Symposium on Human Identification (ISHI), Virtual Meeting, October 31% —
November 3™ 2022, Serological Research Institute, Richmond, CA.

MPS I: Understanding the Technology and MPS II: Genetic Marker Potential, RTI International
and National Institute of Justice, June 12, 2023, Virtual.

MPS II: Bioinformatics, RTI International and National Institute of Justice, June 29, 2023,
Virtual.

FIGG and Court Proceedings: Lessons from the Past, Present to Prepare for the Future, Verogen
Webinar, July 6, 2023.

PROFESSIONAL ORGANIZATIONS

California Association of Criminalists (CAC)

Association of Forensic Quality Assurance Managers (AFQAM)
California Association of Crime Laboratory Directors (CACLD)
International Society for Forensic Genetics (ISFG)

PROFESSIONAL RECOMMENDATIONS

David Hansen, M.S. Steve Myers, M.S.

Forensic Analytical Sciences, Inc. California Department of Justice
3777 Depot Rd., Suite 403 Bureau of Forensic Services
Hayward, CA 94545-2761 Jan Bashinski DNA Laboratory
(510) 266-8194 101 West Cutting, Suite 110

Richmond, CA 94804-3300
(510) 620-3300

Page 8ofg
‘Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 45 of 85

GARY CLAYTON HARMOR

PUBLICATIONS

"Electrophoresis of Esterase D in Fresh Blood and in Bloodstains on Cellulose Acetate",
Grunbaum, Harmor, Del Re, Zajac, Journal of Forensic Sciences, Vol. 23, No. 1, January 1978

"Final Report: Bloodstain Analysis System", Wraxall, Bordeaux, Harmor, Walsh,
FR2700-101, The Aerospace Corporation, 955 L'Enfant Plaza, S.W., Washington, D.C., 20531,
September 1978

"Final Report: Forensic Serology Workshops", Wraxall, Harmor, Provost, Jordon,
78NI-AX-0079, NILE and CJ, U.S. Department of Justice, Washington, D.C., 20531, September
1979

Updated: 9/2023

Pagegofg
Gase 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 46 of 85

fo IN THE DISTRICT COURT OF TULSA COUNTY MM il ih I

1025504826
STATE OF OKLAHOMA
DISTRICT COURT
CITY OF TULSA, ex rel, ) FILED
CHUCK JORDAN, Chief of Police,
City of Tulsa, Oklahoma, ) MAY 20 2014
)
Plaintiff, ) SALLY HOWE SMITH, COURT CLERK
) STATE OF OKLA. TULSA COUNTY
-VS- ) No. CV-2014-00491
) Judge Daman Cantrell
CERTAIN PROPERTY, whether )
stolen, embezzled or otherwise )
obtained, being unknown or )
unclaimed, )
) “a S
Defendant. ) ot Ss
ge
AFFIDAVIT OF MAILING AND PUBLICPOSTING 3H ®&
=
; cD
STATE OF OKLAHOMA) mp =
) ss. Z2=
COUNTY OF TULSA ) : =

COMES NOW Kimberly M. Lee, of lawful age, who being first duly swom upon her oath,
deposes and says:

l. Jama Sergeant of the Tulsa Police Department. I have direct supervisory responsibility

for the operations of the Tulsa Police Department Property Room.

2 Postal notice was provided in accordance with Oklahoma statutes, to the known owners

of any property listed with an actual or apparent value in excess of $250.00.

3. That on the 2nd day of May 2014, a copy of the Notice Setting Hearing setting for

hearing entered herein and the application filed with the court itemizing all property proposed for
disposal was fully posted. Said posting being done at the assigned place for the posting of municipal

notices, and at Tulsa Police Divisions: Riverside, Gilcrease, and Mingo Valley.

4. That all items with an actual or apparent value in excess of $500.00 were published in

the Tulsa Business & Legal News May 7, 2014 (Exhibit #1).

KZ
4

Further, affiant saith not.

pestieaegg,
gee Simon
OY. 7? s .

_ Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 47 of 85 _

#12000294

EXP.01/10/2016 #
Ds :

bene Le

Kimberly M. Lee
LN

Sergeant, Tulsa Police Department
Property Room Supervisor

Subscribed to and sworn before me this S Nay of May, 2014.

Notary Public
My commission expires:
yo mn 10, QDI lo
My commission number:
Ldonoad}

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 48 of 85

-

Exhibit 1
4 ~

PUBLISHER’S AFFIDAVIT

MAY 12, 2014 SALE
PUBLICATION DATE(S)
05/07/14 nat i hy -§8 £

CASE NUMBER: CV-14-491/MAY 12, 2014, SALE“

AD NO: 00181037
LEGAL NOTICE
STATE OF OKLAHOMA

} ss

I, of lawful age, being duly sworn, am a legal representative
of Tulsa Business & Legal News of Tulsa, Oklahoma, a daily
newspaper of general circulation in Tulsa, Oklahoma, a news-
paper qualified to publish legal notices, advertisements and
publications as provided in Section 106 of Title 25, OKahoma
Stanutes 1971 and 1982 as amended, and thereafter, and com-
plies with all other requirements of the laws of Oklahoma
with reference to legal publications. That said notice, a true
copy of which 1s attached hereto was published in the reguiar
edition of said newspaper during the period and time of publi-
cation and not in a supplement, on the ABOVE LISTED
DATE(S)

COUNTY OF Tulsa

My commission number: 06000391
My commission expires: January 9, 2018

Customer #: 00013595
Customer: TULSA POLICE DEPARTMENT

Publisher’s Fee: 40.60 WE N

attr es

aor

*

181037
Puntished In the Tulsa Business & Legal News, Tulsa, Tulta County,
OWahoma, May 7, 2014

NOTICE OF FORFEITURE HEARING OF
UNCLAIMED PROPERTY and/or EVIDENCE
2014-00481

ng concaming the fodeiture of unclaimed evidence and/or

to the City of Tulsa Police Department will be held Monday,

May 12, 2014, st 9:30 am. before the Honorstis kudge Daman
Cartref in Fioom 631 in the Tulea County Court House, 560 S.

Ast ofitoms subject to forfeiture Is available at all Tuts Potica Dect
“|. Patrol Divisions, Delectiva Division, Headquarters, at 600 Civic

Conter, the TPD Property Room at 11171 W. 17th St, and the Cty
Clerk Ctfics @ One Tech Center, 175 E. 2nd St Tukea, OK

Evidance sed/or propeny forleited to the City of Tutea Police
Department asa resutt of this hearing wil be diaposed of in gecor
danca with the order of the court. The following owners will hare
frems with a value exceeding $500.00 subject to Forfelture during
listed court date:

_ Case 4:24-cv-00411-JDR-MTS ° DocumentI-2 Filedin USDC ND/OK on 09/03/24 Page 49 of 85 .

HAMANN

BG2207 Wilmer Danleis Firearm and Cash
BG4es2 Stephen Brown Firearms .
BAI?714 Clark Bevis Cash
BC2119 Carsten Flores Cash
DISTRICT CouRT

MAY ~ 3 2014

5

SALLY
- Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 50 of 85.

% gs ACA

663
IN THE DISTRICT COURT OF TULSA COUNTY
STATE OF OKLAHOMA

DISTRICT COURT
CITY OF TULSA, ex rel, ) E p
CHUCK JORDAN, Chief of Police, ) AUE
City of Tulsa, Oklahoma, ) UG = 5 20)¢
)
- as SALLY Ho
Plaintiff, STATE Gr BRA Foo! IT CLERK
-YSs- ) No. CV-20 14-00491
) Judge Daman Cantrell
CERTAIN PROPERTY, whether )
stolen, embezzled or otherwise 2
obtained, being unknown or )
unclaimed, )
)
Defendant. )
AFFIDAVIT OF MAILING AND PUBLIC POSTING
na B
STATE OF OKLAHOMA  ) =
) ss. 22 &
COUNTY OF TULSA ) woe
os
COMES NOW ely M. Lee, of lawful age, who being first duly Sai6hh uppn her er oath,
= =z co
deposes and says: st a

1. Jama Sergeant of the Tulsa Police Department. Ihave direct supervisory responsibility
for the operations of the Tulsa Police Department Property Room.

2. Postal notice was provided in accordance with Oklahoma statutes, to the known owners
of any property listed with an actual or apparent value in excess of $250.00.

3. That on the 23nd day of July 2014, a copy of the Notice Setting Hearing setting for
hearing entered herein and the application filed with the court itemizing all property proposed for
disposal was fully posted. Said posting being done at the assigned place for the posting of municipal
notices, and at Tulsa Police Divisions: Riverside, Gilcrease, and Mingo Valley.

4. That all items with an actual or apparent value in excess of $500.00 were published in

the Tulsa Business & Legal News July 25, 2014 (Exhibit #1).
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 51 of 85—--

Further, affiant saith not.

te,

MoM
wiieeee! 40
oN.

4,

Ly i _
I #12000204: = .
Z : : z Kimberly M. Lee /
a 10/2016 = Sergeant, Tulsa Police Department
. ay fu Bure “ xz Property Room Supervisor
"age OF oxi Fae

Subscribed to and swom before me this 4 day of July, 2014.

Poi, Kimono

Notary Public

My commission expires:

Qian

!
i

(aa 10 2p Le

My commission number:

ld 00029 4

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed a USDC-NB/OK on 09/03/24 Page 52 of 85

EXHIBIT 1
Case 4:24-cv-00411-JDR-MTS Document 1-2-Filed in USDC ND/OK on 09/03/24 Page 53 of.85-

-PUBLISHER’S AF FIDAVIT sexta i eres 37
County, Oklahoma, .héy 25,

UNCLAIMED PROPERTY SALE 2014
PUBLICATION DATE(S) jv oe
= UNCLAIMED SAY
07/25/14 tndlor EVIDENGE
C201 400830

A hearing conceming (he forfel
wre of uncalmed evidence

CASE-NUMBER: CV-14-830/UNCLAIMED PROP- and/or property to the City of
ERTY Tulsa Police Department will be

held Tuesday, Aogual 5, 2014 at

00 mm. betore The Hononabie

Judge Cartca J. Chapple In
: Ricem 513 In tha ‘Tse County
AD NO: 00184818 i Court Howse, 500 8. Denver,

. Tidsa, OK. A list of tems subject
to Sodeiure Is avaliable at all
Tulea Police Dept Patrol
Divlalons, Detective Division,

LEGAL NOTICE Headquartes, a! 600 Clic

Centez, the TPD Property Room

5 et 1111 W.77%n St, and the Cry

STATE OF OKLAHOMA i. woe
COUNTY OF Tuisa } SS Eiijonoe enter propery fora

ed to the Cty of Tulsa Police

5 Ceparment as a result of this

I, of lawful age, being duly sworn, am a legal representative wats —- Send ae
ccondance: 3 r 5

of Tulsa Business & Legal News of Tulsa, Oklahoma, a daily scot Te pang eon
Kama with 4 value excead-

newspaper of general circulation in Tulsa, Oklahoma, a news- Ing $600.00 eublect to
paper qualified to publish legal notices, advertisements and come oene mane Sates
publications as provided in Section 106 of Title 25, Oklahoma °
tafutes 1971 and 1982.as amended, and thereafter, and com- Sean McDaniel Cash
Plies with all other requirements of the laws of Oklahoma * soe . DISTRICT co
with reference to legal publications. That said notice, a true Gelynda Matingly Cash cag f Lb: E eS
copy of which is attached hereto was published in the regular : :
edition of said newspaper during the period and time of publi- : _ we a Ue
cation and not in a supplement, on the ABOVE LISTED onl 2014
DATE(S) Sr sg
COURT CLERK
marine COUNTY
fon
By. %
a2 cS.
Subscribed to and swonyto me =A ee
yp OES
L

My commission number: 06000391
My commission expires: January 9, 2018

Customer #: 00013595
Customer: TULSA POLICE DEPARTMENT

Qnuntllittttyy, ",

Publisher's Fee: 33.60 Sw EN 4 Lt
SIS GES
= fe CwRE
EE M8 tm, 2 ME
32° oe aera : =
Case 4:24-cv-00411-JDR-MTS_Document 1-2 Filed in USDC ND/OK.on 09/03/24—Page 54 of 85

oS ce
x10

51170773

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY

STATE OF OKLAHOMA :
STRICT ee
CITY OF TULSA, ex rel, ) F i L &
WENDELL FRANKLIN, Chief of Police, _) JAN 28 2022
City of Tulsa, Oklahoma, ) cue
) PON NEWBERRY, Court CI
Plaintiff, ) STATE OF ORLA, TULSA COUNTY

CVn:2022-00151
JUDGE —DAMAN-GANTRELL

)
CERTAIN PROPERTY, whether )
stolen, embezzled or otherwise obtained, )
being unknown or unclaimed, )
)
)

Defendant.

APPLICATION FOR DISPOSITION OF UNCLAIMED PERSONAL PROPERTY,
MONEY AND LEGAL TENDER

COMES NOW, the City of Tulsa, Oklahoma, a municipal corporation CCiHy”), acting
= =

pursuant to 11 O.S. § 34-104, and respectfully presents its Application seeking judictalgupepgision
=

over the disposition of certain unclaimed personal property, money and/or legal tends} oeently
o

ca
secured in the property room of the Tulsa Police Department. In support hereof, the Civy Siates: .

ao
le Attached hereto as Exhibit A is a list of unclaimed personal property itMhhs. Exhibit
x
A identifies each property receipt with the item(s) of property proposed for disposition.
2. Exhibit A also includes certain listings of unclaimed money, currency or legal tender.

The owner of the money, currency or legal tender is unknown or the owner has not made claim for
the money, currency or legal tender.

3. Exhibit A also includes a listing of cauyerous or deadly weapons, narcotic or poisonous
drugs, explosives and other property, the possession of which is prohibited by law. The City
requests that the Court issue an order directing the Chief of Police to immediately destroy or dispose
of this property in a proper manner.

4. Each item of unclaimed property, money and/or legal tender has been in the custody
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 55 of 85 .-

= —_ =

of the City of Tulsa Police Department for at least ninety (90) days and its continued retention by the
City is not needed for evidentiary purposes or for any other purpose in connection with any
litigation.

5. This Court, pursuant to the referenced statute, has jurisdiction and authority to act
upon the presented application.

WHEREFORE, premises considered, the City requests that the Court set this Application for
hearing, and that upon hearing, that the Court adjudicate any uncertain or disputed claims of
ownership of the listed property, money and/or legal tender and, with reference to any property,
money and/or legal tender for which ownership claim is not presented or proven, that the City be

authorized to sell, dispose, or transfer all such property in the manner provided by law.

CITY OF TULSA, OKLAHOMA,
A municipal corporation

DAVID E. O’MEILIA,
City Attomey

ecky Jo
Senior Assistant City Attorney

175 E. 2" St., Suite 685

Tulsa, OK 74103

(918) 596-9308 telephone

(918) 596-9330 fax

ATTORNEY FOR APPLICANT,

CITY OF TULSA, ex rel. Wendell Franklin,
Chief of Police of the City of Tulsa, Oklahoma
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 56 of 85 .

gente,

ERG State Courts Network

The information on this page is NOT an official record. Do not rely on the correctness or completeness of this
information. Verify all information with the official record keeper. The information contained in this report is
provided in compliance with the Oklahoma Open Records Act, 51 O.S. 24A.1. Use of this information is
governed by this act, as well as other applicable state and federal laws.

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA

No. CV-2022-151
_ (Civil Misc.: APPLICATION FOR DISPOSITION
OF UNCLAIMED PERSONAL PROPERTY)

CITY OF TULSA, EX REL,. .
WENDELL FRANKLIN, CHIEF OF POLICE, CITY
OF TULSA,

Plaintiff, i
Intl - Filed: 01/28/2022

V.
Closed: 04/07/2022

IN RE CERTAIN PROPERTY,

Defendant. oi
Judge: Civil Docket E

PARTIES
CITY OF TULSA, Plaintiff
IN RE CERTAIN PROPERTY, Defendant

ATTORNEYS

Attorney Represented Parties
JOHNSON, BECKY (Bar #18282) CITY OF TULSA,

175 E 2ND ST

STE 685

TULSA, OK 74103

EVENTS

Event Party Docket Reporter
Wednesday, March 30, 2022 at 11:00 AM

HEARING ON NOTICE TO IDENTIFIED PROPERTY
OWNERS...BECKY JOHNSON/PL

Daman H.
Cantrell

ISSUES

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.
Issu€ Ast 4:24 2a GOP IDBATIGN POR DRESS TIGR BHERELMINUEIS PERS PROPERTNSS

(OTHER)
Filed By: CITY OF TULSA
Filed Date: 01/28/2022

Party Name Disposition Information

Defendant: Disposed: FORFEITURE (ORDER OR JUDGMENT),

IN RE CERTAIN PROPERTY 04/07/2022. Judge

DOCKET

1Daik Code Description

01-28-2022[ TEXT ]
CIVIL MISC. INITIAL FILING.

#1

01-28-2022[ OTHER ]
APPLICATION FOR DISPOSITION OF UNCLAIMED PERSONAL PROPERTY

01-28-2022[ DMFE ] $ 7.00
DISPUTE MEDIATION FEE

01-28-2022] PFE1 ] $ 85.00
PETITION
Document Available (#1051170773) QTIFF [PDF

01-28-2022] PFE7 ] $ 6.00
LAW LIBRARY FEE

01-28-2022[ OCISR ] $ 25.00
OKLAHOMA COURT INFORMATION SYSTEM REVOLVING FUND

01-28-2022[ OCJC ] $ 1.55
OKLAHOMA COUNCIL ON JUDICIAL COMPLAINTS REVOLVING FUND

01-28-2022[ OCASA ] $ 5.00
OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES

01-28-2022[ SSFCHSCPC ] $ 10.00
SHERIFF'S SERVICE FEE FOR COURTHOUSE SECURITY PER BOARD OF COUNTY
COMMISSIONER

01-28-2022T CCADMINCSF } $ 1.00

COURT CLERK ADMINISTRATIVE FEE ON COURTHOUSE SECURITY PER BOARD OF COUNTY

COMMISSIONER

01-28-2022. CCADMIN0155 ] $ 0.16
COURT CLERK ADMINISTRATIVE FEE ON $1.55 COLLECTION

01-28-2022[ SJFIS ] $ 0.45
STATE JUDICIAL REVOLVING FUND - INTERPRETER AND TRANSLATOR SERVICES

01-28-2022. DCADMIN155 ] $ 0.23
DISTRICT COURT ADMINISTRATIVE FEE ON $1.55 COLLECTIONS

01-28-2022[ DCADMINOS5 J $ 0.75

NISTRICT COMRT ADMINISTRATIVE FFE ON $5 COLLECTIONS
Pf - -2 Filed i K on 09/03/24 Page 58 of 85¢.
01-28: APF ACAOINeSPR MTS Document 1-2 Filed in USDC ND/OK on g ) $ 4.50

DISTRICT COURT ADMINISTRATIVE FEE ON COURTHOUSE SECURITY PER BOARD OF
COUNTY COMMISSIONER

01-28-2022[ ADJUST ]

01-28-2022[ CCRMPF ] $ 10.00
COURT CLERK'S RECORDS MANAGEMENT AND PRESERVATION FEE
01-28-2022[ CCADMIN04 ] $ 0.50
COURT CLERK ADMINISTRATIVE FEE ON COLLECTIONS
01-28-2022[ TEXT ]
OCIS HAS AUTOMATICALLY ASSIGNED JUDGE CIVIL DOCKET E TO THIS CASE.
$ 3.86

ADJUSTING ENTRY: MONIES DUE TO AC09-CARD ALLOCATION

01-28-2022[ ACCOUNT ]

ADJUSTING ENTRY: MONIES DUE TO THE FOLLOWING AGENCIES REDUCED BY THE
FOLLOWING AMOUNTS:

CV-2022-151:
-$0.25

CV-2022-151:
CV-2022-151:
CV-2022-151:

CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:

CV-2022-151:

AC89 COURT CLERK'S RECORDS MANAGEMENT AND PRESERVATION FEE

AC88 SHERIFF’S SERVICE FEE FOR COURT HOUSE SECURITY -$0.25
AC79 OCIS REVOLVING FUND -$0.63

AC67 DISTRICT COURT REVOLVING FUND -$0.07

AC65 STATE JUDICIAL REVOLVING FUND, INTERPRETER SVCS -$0.02
AC64 DISPUTE MEDIATION FEES CIVIL ONLY -$0.18

AC59 COUNCIL ON JUDICIAL COMPLAINTS REVOLVING FUND -$0.04
AC58 OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES -$0.13
AC31 COURT CLERK REVOLVING FUND -$0.05

AC23 LAW LIBRARY FEE CIVIL AND CRIMINAL -$0.15

AC01 CLERK FEES -$2.09

01-28-2022[ ACCOUNT ]

RECEIPT # 2022-4314158 ON 01/28/2022.
PAYOR: HAWKINS/AIMEE TOTAL AMOUNT PAID: $ 154.14.

LINE ITEMS:

CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:
CV-2022-151:

FEE.

$82.91 ON ACO1 CLERK FEES.
$3.86 ON ACOS CARD ALLOCATIONS.

$5.85 ON AC23 LAW LIBRARY FEE CIVIL AND CRIMINAL.

$1.61 ON AC31 COURT CLERK REVOLVING FUND. -

$4.87 ON AC58 OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES.
$1.51 ON AC59 COUNCIL ON JUDICIAL COMPLAINTS REVOLVING FUND.
$6.82 ON AC64 DISPUTE MEDIATION FEES CIVIL ONLY.

$0.43 ON AC65 STATE JUDICIAL REVOLVING FUND, INTERPRETER SVCS.
$2.41 ON AC67 DISTRICT COURT REVOLVING FUND.

$24.37 ON AC79 OCIS REVOLVING FUND.

$9.75 ON AC88 SHERIFF’S SERVICE FEE FOR COURT HOUSE SECURITY.
$9.75 ON AC89 COURT CLERK'S RECORDS MANAGEMENT AND PRESERVATION
- - - 1-2 Filed in USDC ND/OK on 09/03/24 Page 59 of 85
92-0 259A PREY 91 JDR-MTS Document

CANFRELL, DAMAN: APPLICATION FOR HEARING AND DIRECTING ISSUANCE OF NOTICE TO
IDENTIFIED PROPERTY OWNERS AND MEMBERS OF THE GENERAL PUBLIC HAS BEEN SET
FOR HEARING ON 3/30/22; 11 AM, IN ROOM 631.

02-09-2022] O J
ORDER SETTING APPLICATION FOR HEARING AND DIRECTING ISSUANCE OF NOTICE TO
IDENTIFIED PROPERTY OWNERS AND MEMBERS OF THE GENERAL PUBLIC /ATO J é

Document Available (#1051443014) ATIFF [PDF

03-11-2022, PP ]
PROOF OF PUBLICATION ( TULSA WORLD ) NOTICE OF FORFEITURE HEARING OF
UNCLAIMED PROPERTY AND/OR EVIDENCE (WRONG CASE NO. ON PUBLICATION OF CV-22-
155// CALLED AND NOTIFIED ATTY BECKY JOHNSON OF INCORRECT NO.)

Document Available (#1050771276) ATIFF [PDF

03-11-2022[ TEXT ] CITY OF TULSA&

AFFIDAVIT OF PUBLICATION
Document Available (#1050771276) TIFF [PDF

03-30-2022] PP ]

PROOF OF PUBLICATION (TULSA WORLD)(COPY)- NOTICE OF FORFEITURE HEARING OF
UNCLAIMED PROPERTY AND/OR EVIDENCE
Document Available (#1052016821) RTIFF [PDF

04-07-2022] CTFREE ]
CANTRELL, DAMAN: ORDER AUTHORIZING DISPOSITION OF PROPERTY, DISBURSEMENT OF
PROPERTY AND TRANSFERRING OWNERSHIP OF CERTAIN PROPERTY TO THE CITY OF
TULSA HAS BEEN SUBMITTED AND SIGNED BY THE COURT.
ELECTRONIC SIGNATURE AUTHORIZED.
((( CLERK PLACED ORDER IN JUDGE'S OUTBOX TO BE PICKED UP FOR FILING. )))

04-07-2022] DISPFORF ] INRE CERTAIN PROPERTY & #1

ORDER AUTHORIZING DISPOSITION OF PROPERTY, DISBURSEMENT OF PROPERTY AND
TRANSFERRING OWNERSHIP OF CERTAIN PROPERTY TO THE CITY OF TULSA HAS BEEN
SUBMITTED AND SIGNED BY THE COURT.

04-20-2022[ O ]

ORDER AUTHORIZING DISPOSITION OF PROPERTY DISBURSEMENT OF PROPERTY AND
TGRANSFERRING OWNERSHIP OF CERTAIN PROPERTY TO THE CITY OF TULSA
Document Available (#1052182063) TITIFF [PDF

02-21-2023[ RPT ]

RETURN AND RECONCILIATION REPORT
Document Available (#1054560320) DTIFF [PDF
Case 4:24-cv-00411-JDR-MTS~ Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 60 of 85

3g

iguana

«4

TULSA WORLD

P.O. Box1770 Tulsa, Oklahoma 74102-1770 | tulsaworld.com

1049538
pp Ose
CITY OF TULSA POLICE DEPT, PROPERTY —E E Dp
ROOM
s ange 4, 2022
Attn LT. PATRICK STEPHENS VAR 1 1 2022 February 1
600 CIVIC CENTER : :
TULSA, OK 74103 DON NEWBERRY, Court Clark
SMATE OF OKLA. TULSA COUNTY
Dats Category Description Ad Size Total Cost |
02/12/2022 Legal Notices CV-2022-155 FORFEITURE 3x 74.00 CL 142.08

LY- z@15]
Affidavit of Publication
1, Brenda Brumbaugh _, of lawful age, am a legal representative of the Tulsa World of Tulsa, Oklahoma, a daily newspaper
of general circulation in Tulsa County, Oklahoma, a legal newspaper qualified to publish Jegal notices, as defined in 25 O.S. § 106 as
amended, and thereafter, and complies with all other requirements of the Jaws of Oklahoma with reference to legal publication. That said
notice, a tme copy of which is atached hereto, was published in the regular edition of said newspaper during the period and time of
publication and not in a supplement, on the DATE(S) LISTED BELOW :

me Beouds Baba oy

Legal Representative

Sworn to and subscribed before me this date: ol -[ Y- FP
NOPze
My Commission expires Q_| L oo

Newspaper reference: 0000745868

yas
Published In the Tulsa World, Tulsa County, Okicheme, Febrvory 12, 2722

NOTICE OF FORFEITURE HEARING OF
UNCLAIMED PROPERTY an: EVIDENCE

Cv-2022;) 1sf
A/heoring concerning the forfelture of unclalmed evidence onc/or proserty fo the City of Tulsa
rt GCeranment will be heid Wednesday, March Jon of 11:09 om. before The Honorable
udgé Damon H. Cantrell In Room 601 In the Tulsa County Court House, 500 S. Denver, Tulso.
on A Ilst of terns sublect fo forfeiture Is avaliable ot all Tulse Police Dent. Pctro! Dlvislons,
Records oes Caecs Division of 400 Civic Canter, the TPO Proverty are or Th W, 17th

condor,
property fertelted to the City of Tulso Police Deportmont! cs a resuil of this lease will be”
dissesed of In ecoardance with the order of the court.

BET Wesley Nelson. CASH
BFara2 Miguel Veldivio CASH
BJicu Ronald Dele Anhur CASH
BFINIa Christopher Lewis CASH
BFS0) John Dabney Jr CASH
BGSOsd Corl L. Brown CASH
BG7R7 Jose Lasoro Martiner Sr. CASH
BLES Jarrice Pitt. (CASH
Bliss Calvin Christlon tt H
BETSS& lo Torres FIREARM
B Tony Guillory . FIREARM
Bea Cerios Eupene Wricht FIREARM
BEB Steven Rodoiph FIREARM
BFozO Seon Milller FIREARM
BFz9 Tool Fritz FIREARM
BFI081 Eric Willems FIREARM
Bisa) Brandon Sriges FIREARM.
‘Delano Majors FIREARM
BGlopy Nettoll Mercodo: FIREARM
BJ172 Corrin Jones, FIREARM
Komron Cody Peeler IREARM
SI Uoyd Trotter Fl
BPI2 Gonlel Nunn FIREARM
ARISQ. Unknown/Tourus/N F969901 FIREARM
UnknownvColrl 1 1714 9POS FIREARM
sro? reser SIREARM
vse Us HlennluervT COE FIREARM
Unknow nSLw/TBRIFA7 FIREARM
Ess LUT SOSA FIR
BESO UnknownSovol FIREARM
Bers? Unknown/Ruger/21 165520 FIREARM
BErsso Unknown/Super Sllver/RIAIOZI90 FIREARM
BFo760 Unknown/BrycoArms/1 FIREARM
O78] UnknownSliverAM TIAA, FIREARM
Fi Unknown/ReminotoaVvasosi 7M FIREARM
Unknown Witness Ea. FIREARM
UnknownExeroltBraslieyaAP2 S55 (REARM
Pst: Unknown CH lop lr/69-4088 FIREARM
Feo Unknown 257s FIREARM
Unknewn/Bersa781727 FIREARM -
F315 Unknown/Cobra 077? FIREARM
UnknownRoger/il FIREARM
Garis UnknownBarctia BER ASTI75Z FIREARM
Unknown/Borailo/Bssis7z FIREARM
SHINS Unknown ntreTech! 18S FIREARM
BHIa13 Unknown/Revelw EIREA
GNIa13 ee eae FIRCARM
BHET? Unknowr/Keltec/H| FIREARM
BKAua2 a ae a leary icA Uae FIREARM
BK7OES Unknown/PARA! FIREARM
BMI902 UnkrownRuserLEPAT aaa FIREARM
BNSPAD Unknown/Ramifmnva FIREARM
BPIU2 U: ofS 113. FIREARM
BPI3E2 UnknownARTSD! v2 FIREARM
BPIMZ Us Smenex/s417 FIREARM
BP1342 FIREARM
BPI3s2 Unknownen Was PAV] FIREARM
BPISO2 Unknowr/Ponterarms119307 FIREARM

-Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 61 of 85 -

A New Rind of nergy.

© lulsa ,
eS ulsa Forensic Laboratory
, TULSA POLICE DEPARTMENT

LABORATORY REPORT

" INCIDENT NO: 2010-03865 LAB FILE NUMBER:

PROPERTY RECEIPT NO: BE 6525
CUSTOMER: Tulsa County District Attomey, 500 South Denver Ave. Suite 900, Tulsa, Oklahoma 74103

REQUESTOR: T. Evans, ADA

Testing was performed on the following items from 10/07/10 to 10/08/10. The following items were received from the
Property Room on 10/06/10 and analyzed for the presence of human DNA (deoxyribonucleic acid).. When obtained, DNA
was characterized at the Amelogenin locus, and the following STR (short tandem repeat) loci: Penta D, Penta E, and the
thirteen core loci using PCR (polymerase chain reaction). For more information on the thirteen core loci (D8S1179,
D21S11, D7S820, CSF1PO, D3S1358, THO1, D135317, D16S539, vWA, TPOX, D18S51, D5S818, and FGA) visit the
website: http://www csil nist gov/biotech/strbase/{bicore. ktm

Item #16 Swabs (2) from “Steering Whee!” in 2 Sealed White Paper Envelope
DNA information obtained from the combined cutting of swab.one (S1) and swab two (S2) of this item appears to have

come from one individual.

Item #17 abs (2) from “Gear Shifter” in a Sealed White Paper Envelo c.
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to have

come from one individual.

a Item #18 Swabs m “Touck Screen” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab‘one (S1) and swab two (S2) of this item.

STECCOQIAZ

Iter #19 Swabs (2) from “Drivers Door Exterior Handle” in 2 Sealed White Pa r Envelope
No DNA information was obtained from the combined cutting of swab one (SI) and swab two (S2) of this item

Tten: #20 Swabs (2) from “Inside Drivers Door Handle” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (S1) and swab two (82) of this item.

Item #21 Swabs (2) from “Drivers Interior Door Grab” In a Sealed White Paper Envelope
DNA. information obtained from the combined cutting of swab one ($1) and swab two (S2) of this item appears to be a
mixture of at least two individuals. . .

No DNA information was obtained from the combined cutting of swab one (S1) and swab two {S2) of this item.

Item #23 Swabs (2) from “Front Passenger Side Door Exterior Handle” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (S1) and swab two (S2) of this item.

tem #24 Swabs (2) from nt Passenger Door Interior Handle” ip a Sealed White Paper Envelope CH
. No DNA information was obtained from the combined cutting of swab one (S1) and swab two (S2) of this item.

Item #22 Swabs (2) from “Drivers Headrest” in a Sealed White Paper Envelope 8

Item #25 __ Swabs (2) from “Front Passenger Side Door Interior Door Grab” in a Sealed White Paper Envelope
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to have

come from at least one individual.
. Copy

This Report shall not be reproduced, except in full, without the approval of the Labors mites ; Bs
4a} =1 ee

0 .
cio il ws
p yt vs L111 W. 17". e Tulsa, OK 74107 Office 918.596.9266 © Fax 918.596-1875 4H

www.citvnfhilsa_are \ =

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 62 of 85

“oy

CITY CF
Tulsa Forensic Laboratory
TULSA POLICE DEPARTMENT

A New Kind of Enerey.
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NO: BE 6525

Item #26 Swabs (2) from “Front Passenger Headrest” in 2 Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (SI) and swab two (S2) of this item.

Item #27 __ Swabs (2) from “Trunk [id Top” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one {S1) and swab two (S2) of this item.

tem #28 Swabs (2) from “Trunk Lid Top” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (SI) and swab two (SZ) of this item.

Item #29 abs (2) from “Trank Lid Back” in a Sealed White Paper Envelope

- No DNA information was obtained from the combined cutting of swab onc (S1) and swab two (S2) of this item.

Item #30 Swabs m “A” in a Sealed White Paper Envelope
No DNA information was obtained from the combined catting of swab one (S1) and swab two (S2) of this item.

. Xtem #31 | Swabs (2) from “B” jn 2 Sealed White Paper Envelope Lo wate one i
No DNA information was obtained from the combined cutting of swab onc (S1) and swab two (S2) of this item.

r

"Item #32__Swabs (2) from “C” in a Sealed White Paper Envelope os aa af
No DNA information was obtained from the combined cutting of swab one (S1) and swab two (S2) of this item.

item #33 __ Swabs (2) from “D” in a Sealed White Paper Envelope at
No DNA information was obtained from the combined cufting of swab one (S1) and swab two (S2) of this item.

tem #34 Swabs (2) from “E* in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (SI) and swab two (S2) of this item.

Item #35 __Swabs (2) from “G” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab onc (S1) and swab two (S2) of this item.

The above items were returned to the Property Room on 10/08/10. Conclusions based on the STR results are as follows:

1. Ttem #16 SI &S2: : ;
The DNA information obtained from this item appears to have come from an unknown male individual. This
unknown DNA information is suitable for comparisons to reference samples and has been entered into the DNA

2. Item #17 $1&S2:
The DNA information obtained from this item appears to have come from an unknown male individual. This
. unknown DNA information is suitable for comparisons to reference samples. However, duc to the small amount of
DNA information obtained, this DNA information would be expected to be present in 1 m every 2 U.S, Caucasians, 1

in every 2 African-Americans, or 1 in every 2-Southwesterm Hispanics. This DNA information is r
entry into the DNA database. GC O

9” This Report shall not be reproduced, except in full, without the approval of the Laboratory

.

0 “
ot'! : . .
fo I sc 1111 W.17*. e Tulsa, OK 74107 © Office 918.596.9266 e Fax 918.596-1875 189

L/
ww www.citvottulsa.ore

SIS CE OMPZ

SAQH/OOB BF 6S
~ Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 63 of 85

.. 80
CITY OF
Ge ulsa " Forensic Laboratory
A New Rind of Enenzye TULSA POLICE DEPARTMENT
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NO: BE 6525

- Item #21 S1&S§2:

The mixture of DNA information obtained from this item appears to be from unknown‘individuals, of which at least .
one is male. This mixture of DNA information is, suitable for comparison to reference samples. However, the .

. Mixture does not have clear major or minor contributors, so a statistical value for inclusion cannot be calculated: The

mixture of DNA information was not entered into the DNA database.

- Item #25 $1&S82-
The DNA infonmation obtained from this item appears to have come from an unknown male individual. This ct
unknown DNA information is suitable for comparisons fo reference samples but is not suitable for entry into the DNA G
SC
us
us
XQ
=
Ww

OOU0O0335OS

: (OfE1p
Jonathan Wilson, LAB

Forensic DNA Technical Manager

Pursuant to O.S. Titls 22, Section 751, [hereby ecxtify that am
the maker of this g d that wire tue and.co

This Report shall not be reproduced, except in full, without the approval of the Laboratory

1111 W_17% « Tulsa, OK 74107 © Office 918.596.9266 » Fax 918_596-1875
. www.cityottulsa org 130

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 64 of 85

18

CITY OF .
G3 Tulsa Forensic Laboratory
& ACRE eee TULSA POLICE DEPARTMENT

INCIDENT NO: 2010-033865
PROPERTY RECEIPT NO: BE6620
CUSTOMER: Tulsa Police Department, 600 Civic Center, Tulsa, OK 74103

REQUESTOR: T. Taylor, RID

LABORATORY REPORT
LAB FILE NUMBER: 2010-1197

Name associated with this request: Stephen John Rodolf.

The following item was received from the Tulsa Police Department Property Réom on 02/08/11, and analyzed for the
presence of human DNA (deoxyribonucleic acid). Testing was performed on this item between 02/08/11 and 02/17/11.
When obtained, DNA was characterized at the Amelogenin locus, and the 2 following STR (short tandem repeat} loci:
Penta D, Penta E, and the thirteen core loci using PCR (polymerase chain reaction). For more information on the
thirteen éore loci (D8S1179, D21S11, D7S820, CSF1PO, D3S1358, oe D16S539, YWA, TPOX, D18S51, D5S818, and FGA)
visit the website: hitp- cst! nist gov/biniech/strhase/fbii

Item #2 DNA Collection Swab from tem #1 (. arp in a Sealed White Paper Envelope ~
DNA information obtained from a cutting ey have come from at least one individual.

This item was returned to the Tulsa Police Department Room on 02/16/11. Conclusions based upon this STR
result and the STR result rted previously on 10/28/10,by Jonathan Wilson for Lab-File Number 201 1158 Property

_ Receipt BE6525 Item #59 (Buccal Swabs om Ryan Smith), and the STR results reported previously on 12/13/10 by
Byron Smith for Lab-File Number 2010-1158 Property, ipt BE6620 Item #3 (Buccal from William Tottress),
@ and Item #4 (Buccal Swabs from Byron Smith) are as follows:

Ttem #2: . "a
The individuals Ryan Smith, William Tottress, and Byron Smith are excluded as potential contributors to the DNA
‘ormation obtaimed from this item. The DNA if ion obtained a} to be from an unknown individual for whom
a reference le was not submitted. This DNA information is suitable for comparison to additional reference samples,
database.

but is not suitable for entry into the DNA

The DNA extract from the following item analyzed for the presence 9 mreony ¥-chromosomal DNA
(Geoxyribonucleic acid). When obtained/DNA was characterized at the following ¥-STR er tandem meet loci:
¥S456, DYS389F, DYS390, DYS389IT 25458, DYSI9, DYS385a/b, DYS393, DYS39I, YS4#39, DYS635, D¥S392,

YGATAH4, DYS437,DYS438, and DYS448 using PCR (polymerase chain reaction). For more Information on Y-STR
haplotyping visit the website: http:// -cstl_nist. gow/biotech/strbase/lats/Y filer him

item #2 ___DNA Collection Swab from Item #1 (,..“Magazine”...) in a Sealed White Paper Envelope
No Y-chromosomal DNA information was obtained from the remaining DNA extract of this item.

&
gs
\p
Boars 6. Seth tala /y2
Byfon C. Smith, LAB Uy!

Senior Forensic Scientist
Pursuant to O.S. Tide 22, Section 751, I bereby certify that 1
. amthe maker ofthis docomentand that itis 2 fe and covect

report of my findings based open opinion zad interpretation.

: OP

© This Report shall not be reproduced, except in full, without the approval of the Laboratory

1111 W. 17°. » Tulsa, OK 74107 © Office 918.596.9266 © Fax 918.596-1875

www.cityoftulsa org
Page | 9fig

LAB-301A (10/10)

L

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 65 of 85

* a

Ss CITYOF
cy Sey Tulsa Forensic Laboratory
TULSA POLICE DEPARTMENT

A New Kind of Fnergy-

LABORATORY SUPPLEMENTAL REPORT A
INCIDENT NO: 2010-033865 ‘LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NO: BE 6525

CUSTOMER: Tulsa istrict Attorney, 500 South Denver Ave. Suite 900, Tulsa, Oklahoma 74103:
REQUESTOR T.Bvans, ADD :

Testing was ‘perform

' Item #59 Buccal Swabs from Ryan Smith in a Sealed White Paper Envelope
A complete DNA profile was obiained from this individual.

rom Under-Sink Drawer)” in a Sealed White Paper Envelo e
g of swab one (S1) and swab two (S2) of this item appears to be a

Ttem #7 Swabs (2) from “Floor Handle Swab
DNA information obtained from the combined cuttin:
mixture of at least two Individuals.

Item #8 Swabs (2) from “Knife Drawer Handle Swab” ina Sealed White Paper Envelope”
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to be a

mixture of at least three individuals.

Item #9 Swabs (2) from “Under Sink Cabinet Door Pull” in a Sealed White Paper Envelope
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to be a

mixture of at least two individuals.

Item #10 Swabs (2) from “Left Desk Drawer” in a Sealed White Paper Envelope
No DNA information was obtained from .the combined cutting of swab one (S1) and swab two (S2) of this item.

Item #11 Swabs (2) from “Right Desk Drawer” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (S1) and swab two (S2) of this item.

XItem #12 Swabs (2) from “Safe Key Pad” in a Sealed White Paper Envelope
DNA information obtained from the combined cutting of swab one (S 1) and swab two (S2) of this item appears to have

come from one individual.

Pa0

jor .
Jue This Report shall not be reproduced, except in full, without the approval of the Laboratory 150

vw gd H111'W. 17". « Tulsa, OK 74107 « Office 918.596.9266 « Fax 918.596-1875
af

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 66 of 85

CITY OF
os ulsa : Forensic Laboratory
ANew Kind of nergy. TULSA POLICE DEPARTMENT
INCIDENT NO: 2010-033865 ' LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NO: BE 6525

Item #7 S1&S2:

Ryan Smith is excluded as a potential contributor to the mixture of DNA information obtained from this item. The .

mixture of DNA information obtained from this item does have clear major and minor contributors. .The major
contributor appears to be from an unknown female for whom a reference sample was not submitted. The mmor
contributor appears to be from an unknown individual for whom a reference sample was not submitted. The DNA
information from the major and minor contributor is suitable for comparisons to additional reference samples.
However, the DNA information from the minor contributor would be expected to be found in 1 in every 12 US.
Caucasians, 1 im every 24 African-Americans, or 1 in every 22 Southwestern Hispanics. The DNA information
obtained from the major and minor contributor is not suitable for entry into the DNA database.

Item #8 S1&S2: :
Ryan Smith is excluded as a potential contributor to the mixture of DNA information obtained from this item. The

mixture of DNA information obtained from this item appears to be from unknown individuals, of which at least one is
male. This mixture of DNA information is suitable for comparison to reference samples. However, the mixture does
not have clear major or minor contributors, so a statistical value for inclusion cannot be calculated. The mixture of

DNA information is not suitable for entry into the DNA database.

-

Item #9S1&S82° . | a, a,
Ryan Smith is excluded as a potential contributor to the mixture of DNA information obtained from this item. The

mixture of DNA information obtained from this item appears to be from unknown individuals, of which at least one is
male. This mixture of DNA information is suitable for comparison to reference samples. However, the mixture does
not have clear major or minor contributors; so a statistical value for inclusion cannot be calculated. The mixture of
DNA information is not suitable for entry into the DNA database until a reference saaple from the victim is analyzed.

- Item #12 S1&S2:

Ryan Smith camot be excluded as a potential contributor of the DNA information obtained from this item. Based on
the DNA information obtained from the thirteen core loci, the probability of selecting an, individual at random who
could have contributed this information is 1 in 2,200 U.S. Caucasians, 1 in 260 African- -Amenicans, or 1 m 2,400
Southwestern Hispanics. This DNA information is not suitable for entry into the DNA database.-

Item #16 S1&S2: ; :
Ryan Smith is excluded as a potential contributor to the DNA information obtained from this item The DNA

information obtained from this item appears to have come from an unknown male individual. This unknown DNA
information is suitable for comparisons to reference samples and has been entered into the DNA database.

Item #17 S1&82:
Ryan Smith cannot be excluded as a potential] contributor of the DNA information obtained fom this item. Based on

the DNA information obtained from the thirteen core loci, the probability of selecting an individual at random who
could have contributed this information is 1 in 2 U.S. Caucasians, 1 in 2 African-Americans, or 1 in 2 Southwestern

Hispanics. This DNA information is not suitable for entry into the DNA database.

9
0
ME This Report shall not be reproduced, except in full, without the approval of the Laboratory 1514

Nori 1111 W. 17*. Tulsa, OK 74107 e Office 918.596.9266 ° Fax 918.596-1875°
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 67 of 85

CITY OF
@ Ge Tulsa Forensic Laboratory

eNOS TULSA POLICE DEPARTMENT

INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158
PROPERTY RECEIPT NO: BE 6525 .

7. Ttem#21 S1&S2:

Ryan Smith is excluded as a potential contributor to the mixture of DNA information obtained from this item. The
mixture of DNA information obtained from this item appears to be from unknown individuals, of which at least one is
male. This mixture of DNA information is suitable for comparison to reference samples. However, the mixture does
not have clear major or minor contributors, so a statistical value for inclusion cannot be calculated. The mixture of

DNA information was not entered into the DNA database.

8. Item #25 §1&S2: |
Ryan Smith is excluded as a potential contributor to the DNA information obtained from this item. The DNA

information obtained from this item appears to have come from an unknown male individual. This mknown DNA
information is suitable for comparisons to reference samples but is not suitable for entry into the DNA database.

‘Raministeative Review: BEB,
Technical/Péey Review Man .
oe — ne opvozey
ee Bee Jonatién Wilson, LAB
® foe ae we alae 4 0 Forensic DNA Technical Manager
: e . ont Vb Pursuant to O.S. Title 22, Section 751, | hereby cextify that Iam

the maker of this d tt Hii Pcorrect
report of my find} oo 1 Sein.
py

This Report shall not be reproduced, except in full, without the approval of the Laboratory

1111 W 17% 6 TMen OK 74107 « Offre 918 SOK 0966 « Fav 012 ROK_IR7E
oy: 5
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 68 of 8

cry or
oO Tulsa Forensic Laboratory
TULSA POLICE DEPARTMENT

A New Kind of Energy.

LABORATORY SUPPLEMENTAL REPORT B
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NOs: BE 6620 and BE 6525
CUSTOMER: Tulsa County District Attomey, 500 South Denver Ave. Suite 900, Tulsa, Oklahoma 74103

REQUESTOR: T. Evans, ADA

Property Receipt BE 6620:

tem#3— Bu fro THam Tottress in a Sealed White Paper Envelope
Item #4 Buccal Swabs from Byron Smith in a Sezled White Paper Envelope
Complete DNA profiles were obtained from these individuals.

l. Item #7 S1&S82 ft S1&S2, Item #9 S1&S82. an I 13] :
Byron Smith and William Tottress are excluded as potential contributors to the mixtures of DNA information

obtained from these items.

“ “a
2. Item #12 $1 6 S1&S #17 d Ttem #25 S1&§2:
Byron Smith and William Tottress are excluded as potential contributors to the DNA information obtained from these
items,

ff C. Inthe 12/12/70
Administrative Review Miyte-<olt | (470 Byron C. Smith, LAB
Technical/Peer Re a Forensic Scientist II

Pursuznt to O.S. Title 22, Section 751, 1 hereby certify that!
oe: Requestor ; am the maker of this document and that it is » truc and correct
ords report of my lindings based upon opinion and interpretation.

This Report shall not be reproduced, except in full, without the approval of the Laboratory

1111 W. 17". © Tulsa, OK 74107 © Office 918.596.9266 e Fax 918.596-1875

www.cityoftu Isa.org
-,» Case 4:24-cv-00411-JDR-MTS . Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 69 of 85

Ge ulsa Forensic Laboratory

A New Kind of neg. TULSA POLICE DEPARTMENT

LABORATORY REPORT
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158
PROPERTY RECEIPT NO: BE-6525 |
CUSTOMER: Tulsa Police Department, 600 Civic Center, Tulsa, Oklahoma 74103

REQUESTOR: M. Farrell, DET.
pe ata - ——— -----— Supplemental Report #A—-..-.-.
Victim(s): Stephen Rodoif
Suspect(s): None listed
The evidence was received from the Tulsa Police Department Detective Division on 6-24-10.
Description of Evidence:
Latent Print #(Tue}062210-02000-1 — One tape sealed latent envelope marked containing twenty-
seven (27) latent cards. :
Results of Examination:
The latent prints recovered from this investigation have been searched the Automated Fingerprint Identification
System with negative results
Please obtain the elimination fingerprints of the victim{s) and submit to the forensic laboratory for comparison.
Please be sure to inciude palm prints.
4
Ww
WwW
Administrative Review Robert R. Yerfon, Fe =
Technical/Peer Review Forensic Technical Manager
Report Completed-$30¢2.%/0 Pursuant to 0.8. Title 22, Section 751, I bareby certify that }

am the maker of this document and that it ix 2 trae and correct

This Report shall not bé reproduced, except in fall, without the approval of the Laboratory

1111 W. 17°. e Tulsa, OK 74107 » Office 918.596.9266 e Fax 918.596.1875

39
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 70 of 85
Case 4°05-cv-00461-TCK-PJC Document 49 Filed in USDC ND/OK on 11/17/06 Page 1 of 30

IN THE UNITED STATES COURT
o FOR THE NORTHERN DISTRICT OF OKLAHOMA

District Court No. 05-CV-461-TCK-PJG

ANNA MARIA COWDREY
Plaintiff

VS.

THE CITY OF TULSA
. and
WHITNEY ALLEN, CHRISTOPHER STOUT & ANTHONY CELLINO,
individuals,
~ Defendants

PLAINTIFF’S MOTION
AND SUPPORTING BRIEF
FOR NEW TRIAL/RECONSIDERATION

Timothy S. Gilpin

1645 S. Cheyenne
Tulsa, Oklahoma 74119
(918) 583-8900

(918) 583-4768 Fax
timgilpin@gilpinlaw.net
Aitorney for Plaintiff

Afaieit “3D

~~ eS er 4724-CV-O0411-IDR-MTS : Documerit'£-2"Filed in USPC ND/OK-on 09/03/24---Page-71--ef 85. -
' Case 4:05- cv-00461-TCK- PJC Document 40 Filed in USDC ND/OK on 10/20/06 Page 1 of 7

_IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA
ANNA MARIA COWDREY, )
Plaintiff, .
Case No. 05-CV-461-TCK-PJC
WHITNEY ALLEN, an individual,
CHRISTOPHER STOUT, an individual
ANTHONY CELLINO, aka “Tony”
’  CELLINO, an individual, and ~
The CITY OF TULSA, a municipality,
Defendants.

Sat et et es es es es

PLAINTIFF’S TRIAL BRIEF

The Plaintiff, Anna Maria Cowdrey, provides this Trial Brief. The Amended
Complaint contains counts for: Malicious Prosecution; Abuse of Process; Deprivation of
Consiitutional Rights, 42 U.S.C. §1983; Personal Rights & Malicious Wrong, 76 O.S. §6;
Intentional Infliction of Emotional Distress; Negligent Hiring, Supervision & Retention;

“Tortious Interference With Employment and fetsenapal Misconduct Causing Harm.

Ciiitcey was a Tulsa Police Officer for 14 years. She received commendations,

good performance ratings and was described as doing an excellent job, a promising officer

* and a good detective. In April, 2003, Cowd rey was working in the Tulsa Police Property
Room when ailegations arose about missing money and items. A police report was

completed that listed nine (9) suspects, including: Sgt. Whitney Allen (Property Room
Supervisor), Cpl. Tracy Clark, Anna Cowdrey, Bob Kurowski, James Poyner, Todd Henley,
Brian Horry, Alan Terry and Scott McQuarters. This report was assigned to Detectives
Anthony Cellino and Christopher Stout for investigation. City policy makers oversaw,
supervised and participated in the investigation and prosecution of Cowdrey, including

Police Chief Dave Been.

Way

4 wits LOM tates
Case 4:24-cv-0044t-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 72 of 85
Case 4:05-cv-00461-TCK-PJC Document 40 Filed in USDC ND/OK on 10/20/06 Page 2 of 7

The Defendants fabricated inculpating evidence, falsified misleading evidence,

concealed, -manipulated, mis-characterized and misrepresented exculpating evidence
concerning Cowdrey.

i EVIDENCE
A. Fingerprints
“Negative” fingerprint resulis on Cowdrey were withheld and in their place an
“inconclusive” finding was fabricated, during the investigation and at the criminal Preliminary
Bestia: The Preliminary Court, Cowdrey and her criminal defense attorney were misled to
believe that Cowdrey’s finger print results were “inconclusive”; meaning all Property Room
employees could be ruled out, except her.
“1. .Neither Cowdrey or her criminal defense attomey were aware that her fingerprint
“+.:@xamination results were actually “negative”, the results were represented to
... them as “inconclusive” through-out the criminal prosecution.
';2., Defendants police officers admit they were aware that Cowdrey’s finger print
--s"results' were “negative”. But, did not report Cowdrey’s: negative results to the
1S Biticgs “:Preliminary-Court. Instead; Defendant's Police-and Pissacution Reports stated
x Only:the -finger print results: were negative :‘to’‘the known ‘finger prints of the
‘, -:property room personnel”, without mentioning Cowdrey’s name;
Sit: :3..‘But,-this:same:report (and-ail other Prosecution and Supplemental reports)
+; isingle out-Cowdrey:by niame to: state.Fingerprint. Examiner..Yerton. advised
:/. Cellino:.“He: was. able: to ‘eliminate~all property-room-personnel! as suspecis

. .except.:Officer Anna Cowdrey.” This was a wholly false representation to.the

SIS eran
-24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OR oni 09/03/24 Page 73 of 85°:
CASS Hebe Gods -TCK-PJC - Document 40 Filed in USDC ND/OK on-10/20/06 Page 3 of 7

:.+ Preliminary Court, Cowdrey’s criminal-:defense atiomey and Cowdrey;
«, ~?4,. Further down the same page of ‘the Report, Stout and Cellino swore to the
zs, -- Preliminary Court that “the fingerprint examination of Anna Cowdrey’s prints and
’ the prints found on the envelopes were inconclusive.”
5. No explanation or “clue” could be given by anyone why Stout and Cellino
bs senuied Cowdrey’s fingerprint results as.‘inconclusive”._:
»,...,6. =Police Chief Dave Been testified that “inconclusive” meant Cowdrey could not be
oles out, as. were ofher Property Room personnel with this finger print evidence.
“Inconctusive” left Cowdrey “dangling”.

.. 1.- Police Chief Dave Been testified that early on the investigation narrowed down

to. Cowdrey: based on initials and finger print evidence. Testimony also exists
. that the. fingerprint evidence ve useful, very important, :‘negative” results would
have. helped Cowdery, it would.have taken some light off her, Chief Been would
:... have:liked to.have known in April or Ma y, 2003, thatthe results were “negative”
+. before the thing took off any more; Chief:Been does not think its alright that
Stout swore tothe preliminary court that the. finger print.exam was “inconclusive”
. When.if was. ‘negative’... .

oat aae wee i i cre “avAL Rost-ItNofeoois.f 0°
Neither Cowdrey-or-her criminal defense attorney knew‘or.wereaware that a Post-it
Note containing: her:work:computer-access-code had been found ‘on/or near her Property
_ Room computer‘or discussed by.the investigators, Stout and ‘Cellino; until discovery efforts I

in.this civil:case.:Cowdrey’s work computer access code was found.on.a Post-it Note near
Case 4:24-cv-0041T-JDR-MTS Document 1-2 Fitedi1TUSDE-NB/OK or 69/03/24 ~-Page-74-ef 85----.
Case 4:05-cv-00461-TCK-PJC Document 40 Filed in USDC ND/OK on 10/20/06 Page 4 of 7 :

the computer she used in the Property Room. Testimony exists that: -
1. The:Post-It Note was importani.evidence and it would have helped exonerate
. Cowdrey from criminal charges; .

2. The existence of the Post-It Note was not mentioned in any of Stout or Cellino’s
Reports, Supplemental or Prosecution Reports. Stout could offer no-explanation why this
fact was ‘not mentioned in any reports:

3. The Post-it Note.was not mentioned at the Preliminary hearing, the Preliminary
Hearing Court did not hear or fearn about the Post-It Note;
C. Evidence Hidden In Desk
Neither Cowdrey or her criminal defense attorney knew or were aware that pages
were missing from‘a Property Room Inventory List.used to prosecute her. Further, they
were unaware thatthe original of this Inventory List.(with-all the .pages).was not lagged in
as evidence.and.was hidden. Testimony. exists that:

1. Whitney:Allen. kept the original Inventory List in her desk prior to and during

‘Preliminary: hearing, then given to Tracy Clark to. put in -her desk;

2. Procedure..was not followed regarding the Inventory List, evidence.was hidden
and it caused .Cpl..Clark and Sgt. Holman(Internal Affairs) concern;

3. This Inventory List was important evidence, it linked Cowdrey to the missing items

she was prosecuted.on; - -s..:-

SR Et LR ete Leet iene en

4. Sgi.Cellin o,did not give:Cowdrey or her.criminal.defense attomey, the complete

‘Inventory List and.does not know how they would have gotten:a copy3...

.5. Chief Dave Been: ‘S.“alarm bells. went. off’:when.he first learned this.evidence had

been locked in a-desk drawer;
Case’4:24-cv-00411-JDR-MTS Document 1-2 Filed imUSDC ND/@K or-09/03/24— Page-75 of .85.------;
Case 4:05-cv-00461-TCK-PJC Document 40 Filed in USDC ND/OK on 10/20/06 Page 5 of 7

D. Missing Vault Keys

The key to the Property Room Vault went missing ‘about 3 to 6 months before

Cowdrey Was accused. of any wrong doing in the Property Room. Defendant Whitney Allen

lost the Vault Key and that meant that each individual listed as a suspect (property room
personnel) had free access to the monies kept in the Vault. Testimony exisis that:
sal 1. Even though Cowdrey was accused of taking money from the Vault, Whitney
Allen did not tell the Preliminary Hearing Court that the Vault.Key had been missing for
some time; °
2. According fo Whitney Allen, the other Property Room personnel/suspects had
access to the Vault and security doors leading to it;
i. +E. Condition of the Property Room °
* The poor condition-.of the Police Property. Room :was concealed by :Defendant
Whitney Allen: -Cellino-and Stout ignored Cowdrey’s repeated efforts to inform them of the
‘condition of the Broneny Room before and after she was charged with crime(s) related to
the.Property Room.
The:Preliminary Hearing Judge was mislead by the-Defendants (to this lawsuit) to
believe ‘that:it was significant Cowdrey’s-hand writing was:on a.series of receipts. In fact, é
due to the.very ‘nature of.her job in the Property Room and the. poor. conditions of the
Property Room::Cowdrey’s hand writing was‘on many thousands of receipts. The Property

-Room conditions were such:that Cowdrey:s hand writing.on any:one or-more receipts did

ARH

hotmean she had-handled.the jtem(s)..Fhe Defendants actedto conceal and mislead as to
the actual.Property-Room cond itions; and thus, “procedures” in place;in an improper effort

ewlies sete tyrdvg bite a sete J lp pat
Case 4:
e

4 ge 76-0f.85.........

24-ev-00411-JDR-MTS Docent 1-2 Filed irUSBE- NB/OK-en-09/08/24. Pa
4:05-cv-00461-TCK-PJC Document 40 Filed in USDC ND/OK on 10/20/06 Page 6 of 7

to harm Cowdrey. Testimony exists that
1. .Whitney Alien ted Stout :and -Cellino to believe that Property.Room was
-  -performing its job ne she could find what she needed in it..She-did not inform
. them of her 8/01 and 8/02 Memos stating she couldn’t confirm what was actually
: f¢,-in the Property Room;
2. -Both 8/01.and.8/02 Memos would have been important so persons.knew Allen
ee 2 :could..not ascertain what cash was in the Property Room; -::
F. Suspects Assigned to Property Room & Found Evidence’

Charges against Cowdrey were first declined. Then Whitney-Allen and ‘tracy Clark
found new evidence. Whitney Allen and Tracy Clark were originally listed as suspects,
neither was ever informed they had been eliminated from the investigation and both were
‘left. working. daily ;in the Property Room with all the. evidence. Felony and misdemeanor
charges were then brought‘again against Cowdrey. By her own testimony; and thatof Stout
_ and Cellino,. Whitney Allen.led.the investigation, found all. the. evidence, provided the
evidence to Stoutand Cellino from the beginning of the investigation to the end. During this
same period :Whitney.-Allen’s husband. was in medical school; they were: living off her

income.and his student loans.and, yet, taking expensive ocean Cruises.
isii, | -The -suspects: should. not-have-:been conducting .the investigation, finding and
. Producing the evidence; instead, Whitney. Allen ana Tracy.Clark should have.been isolated
from the.evidence-and search-for.evid ence:: hese same.complaints were made directly-to
Chief. ‘Dave Been -by: Cpl.Clark.and Cpt. -Auramel..(then .commander. of Police Internal
-00411-JDR-MTS Document 1-2 Filéd ir-U SDE-ND/OK ‘orr09/63/24-- Page 7-7-0f.85..---~..

“ESSE A10S‘CV-00461-1CK-PIC. Document 40 Filed in USDC ND/OK on Lopo/oe Page 7 of 7

Respectfully submitted,

/s/ Tim Gilpin

TIMOTHY S. GILPIN, OBA #11844
1645 South Cheyenne

Tulsa, Oklahoma 74119

(918) 583-8900

timailpin@gilpinlaw.net

Attorney for Plaintiff, Anna Maria Cowdrey

CERTIFICATE OF MAILING .

I, Timothy S. Gilpin, hereby certify that on October 20, 2006, | transmitted the

. forgoing documentio the Clerk.of ihe Court using the ECF System for filing and transmittal
of a Notice of Elecironic Filing to. the following ECF Registrants:

Michael Romig

Senior Assistant City Attorney
200 Civic Center, Room 316
Tulsa, OK 74103
mromiq@ci.tulsa.ok.us

and

ThomasLayon
. 6" floor, Pratt Tower
125 West 15" Street
- . Tulsa, OK 74119
thom@layonlaw.com

PRAT. ware ess SPoocuat ree pai;
(Gime! ‘Cade 4:24-cv-00411-JDR-MTS_ Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 78 of 85
(EA ibit-c )

Ti aye
Ce ulsa Forensic Laboratory

A New Rind of Energy TULSA POLICE DEPARTMENT

©

LABORATORY REPORT
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158
PROPERTY RECEIPT NO: BE-6525
CUSTOMER: Tulsa Police Department, 600 Civic Center, Tulsa, Oklahoma 74103
REQUESTOR: M. Farrell, DET.

fe ec een yee nee Spleen RESORE A eer ee

Victim(s): Stephen Rodolf

Suspect(s): None listed
The evidence was received from the Tulsa Police Department Detective Division on Thursday’6-24-10,

Description of Evidence:

Latent Print #(Tue)062210-02000-1 — One tape sealed latent envelope marked

containing twenty-
seven (27) latent cards. :

Results of Examination:

The latent prints recovered from this investigation have been searched the Automated Fingerprint Identification

System with negative results.

Please obtain the elimination fingerprints of the victim(s) and submit theth to the forensic laboratory for comparison.
Please be sure to include palm prints.

Oe

Robert R. Yerton,
Forensic Technical Manager
Purmant to O.S. Title 22, Section 751, I hereby certify i
am the maker of this document and that it ix a true and correct
report of my findings based upoa opinion and interpretation.

This Report shall not bé reproduced, except in full, without the approval of the Laboratory

1111 W. 17%. e Tulsa, OK 74107 e Office 918.596.9266 © Fax 918.596.1875

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 79 of 85

LAB-301A (10/101

L18

Cy OF
fe Tulsa Forensic Laboratory
TULSA POLICE DEPARTMENT

ANew Kind of Energy:

LABORATORY REPORT

INCIDENT NO: 2010-033865 LAB FILE
PROPERTY RECEIPT NO: BE6620
CUSTOMER: Tulsa Police Department, 600 Civic Center, Tulsa, OK 74103

REQUESTOR: T. Taylor, RID

ER: 2010-1197

Name associated with this request: Stephen John Rodolf.

The following item was received from the Tulsa Police Department Property on 02/08/11, and analyzed for the
presence of human DNA (deoxyribonucleic acid), Testing was performed on, this item between 02/08/11 and 02/17/11.
When obtained, DNA was characterized at the Amelogenin locus, and the fOllowing STR (short tandem repeat) loci:
Penta D, Penta E, and the thirteen core loci using PCR (polymerase chain reaction). For more information on the
thirteen éore loci (D&S1179, D21S11, D7S820, CSF1PO, D3S1358, THO!, 135317, 1165539, vWA, TPOX, 018851, DSS818, and FGA)

visit the website: hittp:/Avww.cstlnist. gowbiotech/strbase/fbicore. him'

Item #2 ihe”...) in a Sealed Whit Envelope —
DNA information obtained from a cutting of this item appears t6 have come from at least one individual.

This item was returned to the Tulsa Police yo 1020 nathan on 02/16/11. Conclusions based this STR
f

result and the STR resull reported previously on 10/28/10,4y Jonathan Wilson for Lab-File Number 2010-1158 Property
Receipt BE6525 Item #59 (Buccal Swabs from Ryan Smith), and the STR results reported previously on 12/13/10 by
Byron Smith for Lab-File 2010-1158 Property, ipt BE6620 Item #3 (Buccal Gok from William Tottress),

and Item #4 (Buccal Swabs from Byron Smith) are as follows:

The individuals Ryan Smith, William Tottress, and Byron Smith are excluded as potential contributors to the DNA

information obtamed from this item. The DNA jhformation obtamed a) to be from an unknown individual for whom

a reference le was not submitted. This DNA information is suitable for comparison to additional reference samples,
but is not suitable for entry into the DNA database.

The DNA extract from the following item analyzed for the presence of male-only Y-chromosomal DNA
(deomrthoeuscteic acid). When obtained/DNA was characterized at the following Y-STR (short tandem repeat loci:

S456, DYS389I, DYS390, DYS389II,/DYS458, DYS19, DYS385a/b, DYS393, DYS391, DYS439, DYS635, DYS392,
48 using PCR (polymerase chain reaction). For more information on Y-STR

cst)_nist.gov/biotech/strbase/kats/Y filer_htm

azine”...) ina White r Envelope
No Y-chromosomal DNA information was obtained from the remaining DNA extract of this item.

Oc

Byron C, Smith, LAB
Senior Forensic Scientist

report of my findings based upon opinion and interpretation.

ree

ot 3 LEN:207072158),7 > oP. COP

This Report shall not be reproduced, except in full, without the approval of the Laboratory.

1111 W. 17%. © Tutsa, OK 74107 © Office 918.596.9266 ¢ Fax 918.596-1875
www.cil |

Pursuant to O.S. Titls 22, Section 751, I hereby certify that I
. am the maker of this document and that itis a truc and correct

Page 1 9018
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 80 of 85

ie CITY OF
a ay Tulsa Forensic Laboratory
aa” ANew Kind of Energy. TULSA POLICE DEPARTMENT

LABORATORY SUPPLEMENTAL REPORT A
INCIDENT NO: 2010-033865 ‘LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NO: BE 6525

CUSTOMER: Tulsa istrict Attorney, 500 South Denver Ave. Suite 900, Tulsa, Oklahoma 74103
REQUESTOR® T. Evans, ADA ;

Testing was performed on the following items from 10/18/10 to 10/25/10. The following items were received from the
Property Room on 10/15/10 and analyzed for the presence of human DNA (deoxyribonucleic acid). When obtained, DNA
was characterized at the Amelogenin locus, and the following STR (short tandem repeat) loci: Penta D, Penta E, and the
thirteen core loci using PCR (pdlymerase chain reaction). For more information on the thirteen core loci (D8S1179,
D21S11, D7S820, CSF1PO, D3S1358, TH01, D13S317, D16S539, vWA, TPOX, D18S51, D5S818, and FGA) visit the

website: http://vww.cstl nist.gov/biotech/strbase/fbicore. htm

Item #59 Buccal Swabs from Ryan Smith in a Sealed White Paper Envelope
A complete DNA profile was obtained from this individual.

Item #7 ___ Swabs (2) from “Floor Handle Swab (From Under-Sink Drawer)” in a Sealed White Paper Envelope
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to be a
mixture of at least two individuals.

Item #8 __ Swabs (2) from “Knife Drawer Handle Swab” in a Sealed White Paper Envelope /
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to be a

mixture of at least three individuals.

Item #9 _ Swabs (2) from “Under Sink Cabinet Door Pull” in a Sealed White Paper Envelope
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to be a

mixture of at least two individuals.

Item #10 __ Swabs (2) from “Left Desk Drawer” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (S1) and swab two (S2) of this item.

Item #11 Swabs (2) from “Right Desk Drawer” in a Sealed White Paper Envelope
No DNA information was obtained from the combined cutting of swab one (S1) and swab two (S2) of this item.

Item #12 Swabs (2) from “Safe Key Pad” in a Sealed White Paper Envelope
DNA information obtained from the combined cutting of swab one (S1) and swab two (S2) of this item appears to have

come from one individual.

The above items were returned to the Property Room on 10/18/10. Conclusions based on these STR results and the STR
results reported on 10/13/10 for Item #16 SI & S2 (Steering Wheel Swabs), Item #17 SI & S2 (Gear Shifter Swabs), Item
#21 SI & S2 (Drivers Interior Door Grab Swabs) and Item #25 S] & S2 (Front Passenger Side Door Interior Grab

Swabs) are as follows:

Pru0

Faw ° This Report shall not be reproduced, except in full, without the approval of the Laboratory 150

1g 1111 W. 17. e Tulsa, OK 74107 © Office 918.596.9266 © Fax 918.596-1875
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 81 of 85

CITY OF
Ge ulsa Forensic Laboratory

LUISA TULSA POLICE DEPARTMENT
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NO: BE 6525

"Item #12 $1882:

Item #7 S1&S2:
Ryan Smith is excluded as a potential contributor to the mixture of DNA information obtained from this item. The _

mixture of DNA information obtained from this item does have clear major and minor contributors. . The major
contributor appears to be from an unknown female for whom a reference sample was not submitted. The minor
contributor appears to be from an unknown individual for whom a reference sample was not submitted. The DNA
information from the major and minor contributor is suitable for comparisons to additional reference samples.
However, the DNA information from the minor contributor would be expected to be found in | in every 12 U.S.
Caucasians, 1 in every 24 African-Americans, or 1 in every 22 Southwestern Hispanics. The DNA information
obtained from the major and minor contributor is not suitable for entry into the DNA database.

Item #8 $1&S2:
Ryan Smith is excluded as a potential contributor to the mixture of DNA information obtained from this item. The

mixture of DNA information obtained from this item appears to be from unknown individuals, of which at least one is
male. This mixture of DNA information is suitable for comparison to reference samples. However, the mixture does
not have clear major or minor contributors, so a statistical value for inclusion cannot be calculated. The mixture of

DNA information is not suitable for entry into the DNA database.

Item #9 S$1&S2: a
Ryan Smith is excluded as a potential contributor to the mixture of DNA information cheatin from this item. The

mixture of DNA information obtained from this item appears to be from unknown individuals, of which at least one is
male. This mixture of DNA information is suitable for comparison to reference samples. However, the mixture does
not have clear major or minor contributors, so a statistical value for inclusion cannot be calculated. The mixture of
DNA information is not suitable for entry into the DNA database until a reference sample from the victim is analyzed.

Ryan Smith cannot be excluded as a potential co of the DNA information obtained from this item. Based on
the DNA information obtained from the thirteen core loci, the probability of selecting an individual at random who
could have contributed this information is 1 in 2,200 U.S, Caucasians, 1 in 260 African-Americans, or 1 in 2,400
Southwestern Hispanics. This DNA information is not suitable for entry into the DNA database. :

Item #16 S1&S2: :
Ryan Smith is excluded as a potential contributor to the DNA information obtained foi this item. The DNA

information obtained from this item appears to have come from an unknown male individual. This unknown DNA
information is suitable for comparisons to reference samples and has been entered into the DNA database.

Item #17 S1&S2:
Ryan Smith cannot be excluded as a potential contributor of the DNA information obtained from this item. Based on

the DNA information obtained from the thirteen core loci, the probability of selecting an individual at random who
could have contributed this information is 1 in 2 U.S. Caucasians, 1 in 2 African-Americans, or 1 in 2 Southwestern

Hispanics. This DNA information is not suitable for entry into the DNA database.

YE This Report shall not be reproduced, except in full, without the approval of the Laboratory 151

Ne 1111 W. 17". e Tulsa, OK 74107 ¢ Office 918.596.9266 e Fax 918.596-1875
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 82 of 85

€p lul ulsa
Forensic Laboratory
A Kind
mr sa TULSA POLICE DEPARTMENT
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NO: BE 6525

7.

8.

Item #21 $1&S2:
Ryan Smith is excluded as a potential contributor to the mixture of DNA information obtained from this item. The

mixture of DNA information obtained from this item appears to be from unknown individuals, of which at least one is
male, This mixture of DNA information is suitable for comparison to reference samples. However, the mixture does
not have clear major or minor contributors, so a statistical value for inclusion cannot be calculated. The mixture of
DNA information was not entered into the DNA database.

Item #25 $1&S2: |
Ryan Smith is excluded as a potential contributor to the DNA information obtained from this item. The DNA

information obtained from this item appears to have come from an unknown male individual. This unknown DNA
information is suitable for comparisons to reference samples but is not suitable for entry into the DNA database.

a (0290
Tonatirat ona tirin Wilson, LAB
Forensic DNA Technical Manager

Pursuant to O.S. Title 22, ne Thereby certify that I am

the maker of this d correct
report of my findj Ba anne ment tion.
m1 aE Uy

This Report shall not be reproduced, except in full, without the approval of the Laboratory 9
. 15

1111 W 17" « Ten OK 74107 0 Offire 91R SOK ODA @ Fav Q1R BQR-1R75
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 83 of 85

a

ciy or
Tulsa Forensic Laboratory

ANew Kind of Enengy. TULSA POLICE DEPARTMENT

LABORATORY SUPPLEMENTAL REPORT B
INCIDENT NO: 2010-033865 LAB FILE NUMBER: 2010-1158

PROPERTY RECEIPT NOs: BE 6620 and BE 6525
CUSTOMER: Tulsa County District Attorney, 500 South Denver Ave. Suite 900, Tulsa, Oklahoma 74103

REQUESTOR: T. Evans, ADA

The following items were received from the Tulsa Police Department Property Room on 12/02/10, and analyzed for the
presence of human DNA (deoxyribonucleic acid). Testing was performed on these items between 12/06/10 and 12/09/10.
When obtained, DNA was characterized at the Amelogenin locus, and the following STR (short tandem repeat) loci:
Penta D, Penta E, and the thirteen core loci using PCR (polymerase chain reaction). For more information on the
thirteen core loci (D8S1179, D21S11, D7S820, CSFIPO, D3S1358, THO1, D13S317, D16S539, vWA, TPOX, D18S51, DSS818, and FGA)

visit the website: http://www.cstl.nist.gow/biolech/strbase{bicore. htm

Property Receipt BE 6620:
#3 ~=Ba 0 liam Tottress in a le hite er Envelope
Item B m Byron Smith in White Paper Envelope

Complete DNA profiles were obtained from these individuals.

The above items were returned to the Property Room on 12/10/10. Conclusions based on these STR results and the STR
results reported on 10/13/10 for Property Receipt BE 6525 Item #16 S] & S2 (Steering Wheel Swabs), Item #17 S1 & S2
(Gear Shifter Swabs), Item #21 S] & S2 (Drivers Interior Door Grab Swabs) and Item #25 S] & S2 (Front Passenger
Side Door Interior Grab Swabs), and the STR results reported on 10/28/10 for Property Receipt BE 6525 Item #7 §] &
S2 (Under Sink Drawer Swabs), Item #8 S] & S2 (Knife Drawer Handle Swabs), Item #9 SI] & S2 (Under Sink Cabinet
Door Swabs), and Item #12 S] & S2 (Safe Key Pad Swabs) are as follows:

1. Item #7 S1&82, Item #8 $1 &S2, Item #9 S1&S2, and Item #21 S1&S2;
Byron Smith and William Tottress are excluded as potential contributors to the mixtures of DNA information
obtained from these items.
“ “
2. Item#12§1 6 #1 Item #25 S1&82:
Byron Smith and William Tottress are excluded as potential contributors to the DNA information obtained from these
items.
ee C. Smithy 12/18/10
Administrative Review Mayia-eo by 1470 By¥on C. Smith, LAB
Technical/Peer RevieN ates Forensic Scientist JI
126510 Pursuent to OS. Title 22, Section 751, 1 hereby certify that]
cc: Requestor am the maker of this document and that It fa a truc and correct
Records report of my findings based upon opinion and interpretation.

This Report shall not be reproduced, except in full, without the approval of the Laboratory

1111 W. 17". e Tulsa, OK 74107 ¢ Office 918.596.9266 © Fax 918,596-1875

www. cityoftulsa.org
LAB-301A Page | of 1
Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 84 of 85

ae

ssmoaxzuidersd

Case 4:24-cv-00411-JDR-MTS Document 1-2 Filed in USDC ND/OK on 09/03/24 Page 85 of 85

